     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 1 of 225 Page ID
                                       #:3703




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17

18                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
19                              WESTERN DIVISION
20
     KAJEET, INC.,                           CASE NO. 8:18-cv-01519-JAK-PLA
21
                        Plaintiff,
22
                                             PLAINTIFF’S FIRST
23                                           SUPPLEMENTAL DISCLOSURE OF
                        vs.                  ASSERTED CLAIMS AND
24                                           INFRINGEMENT CONTENTIONS
                                             AND ACCOMPANYING
25                                           DOCUMENTS PURSUANT TO
     QUSTODIO, LLC,                          SPR 2.1 AND 2.2
26

27                      Defendant.
                                             JURY TRIAL DEMANDED
28
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 1

 2           Plaintiff Kajeet, Inc. (“Kajeet” or “Plaintiff”) hereby provides its first
 3   supplemented disclosure of asserted claims and infringement contentions and
 4   accompanying document production pursuant to S.P.R 2.1 and 2.2, following receipt of
 5   Qustodio’s First Supplemental Responses to Interrgatories, served on July 5, 2019.
 6   Qustodio’s earlier served original Interrogatory Responses were unverified and
 7   therefore inoperative as competent evidence.          Additionally, these supplemented
 8   disclosures are provided in response to the Court’s tentative rulings presented at the
 9   combined hearing held on July 15, 2019 addressing claim construction and Qustodio’s
10   renewed Alice motion. A final order deciding the issues argued at the July 15, 2019
11   hearing has not yet been entered by the Court. Plaintiff reserves the right to further
12   supplement these infringement contentions upon entry of a claim construction and Alice         Formatted: Font: 14 pt


13   order, and as discovery progresses in this case.                                               Formatted: Font: 12 pt


14      I.      S.P.R. 2.1 – Disclosure of Asserted Claims and Infringement Contentions
15              a. 2.1.1 – Asserted Claims
16           Based on presently available information, Plaintiff contends that Defendant
17   Qustodio, LLC (“Defendant” or “Qustodio”) directly infringes at least the following
18   claims of the Patents-in-Suit:
19

20                             U.S. Patent No.       Asserted Claims
21                            8,712,371             1-3, 5-8, 12
22                            8,667,559             1-3, 5, 6, 11-17,
23                                                  27, 28, and 30
24                            8,630,612             1-6, 8-12
25

26   These claims are collectively referred to as the “Asserted Claims” and these patents are
27   collectively referred to as the “Patents-in-Suit.” Plaintiff expressly reserves the right to
28
                 FIRST SUPPLEMENTED DISCLOSURE OF ASSERTED CLAIMS
                           AND INFRINGEMENT CONTENTIONS
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 1   seek leave of Court to further amend or to supplement this disclosure after discovery
 2   from Defendant or as permitted under the rules.
 3               b. 2.1.2 – Accused Instrumentalities
 4            On information and belief, Plaintiff accuses Defendant of infringing the Asserted
 5   Claims directly under 35 U.S.C. § 271(a) by virtue of its manufacture, use, offer for
 6   sale, sale, and/or importation of its mobile device control applications, branded as
 7   Qustodio for Family, Qustodio for Schools, and Qustodio for Business, respectively.
 8   Each these separately branded products comprise essentially identical infringing
 9   functionality with only cosmetic differences between them. Qustodio confirms this to
10   be the case, stating in its first supplemental answers to Interrogatories Nos. 3 and 4 that
11   “[t]here are no relevant functional differences between the current premium versions of
12   Qustodio for Families, Qustodio for Schools, and Qustodio for Businesses.” These
13   supplemental answers were verified by Qustodio’s CEO Eduardo Cruz on July 1, 2019
14   and first served on July 5, 2019.
15            These, and any other Qustodio product offering functioning in a substantially
16   similar way, are collectively referred to as the “Accused Products” or “Accused
17   Instrumentalities”. Plaintiff additionally accuses Defendant of indirectly infringing the
18   Asserted Claims under 35 U.S.C. § 271(b) and 35 U.S.C. § 271(c) by virtue of its
19   manufacture, use, offer for sale, sale, and/or importation of the Accused Products with
20   knowledge that they are especially designed for and marketed towards infringing use
21   by Qustodio’s customers and end users of the Accused Products. Qustodio actively
22   induces direct infringement of the Asserted Patents by end users of the Accused
23   Products via at least providing product literature, instructions for use, and video tutorials
24   demonstrating use of the Accused Products in ways that infringe the Asserted Patents.
25            Plaintiff expressly reserves the right to seek leave of Court to further amend or
26   supplement these disclosures after discovery from Defendant or as permitted under the
27   rules.
28
                   FIRST SUPPLEMENTED DISCLOSURE OF ASSERTED CLAIMS
                             AND INFRINGEMENT CONTENTIONS
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 1               c. 2.1.3 – Claim Charts                                                            Formatted: Keep with next


 2            Defendant’s Accused Products practice the Asserted Claims as shown in the
 3   claim charts attached hereto as Exhibits A-C. The attached claim charts are addressed
 4   specifically to the Qustodio for Family branded product, but are applicable to each of
 5   the Accused Products identified above, which are believed to accommodate identical
 6   infringing functionality and include only cosmetic differences between them.
 7            Any citations to Defendant’s publicly available documentation in the attached
 8   claim charts are exemplary and not exhaustive, as are the examples provided of the ways
 9   in which the Accused Products satisfy the elements of each of the Asserted Claims.
10   Moreover, any and all citations or references to publicly available documentation
11   should be understood to encompass any and all current or prior versions that incorporate
12   the same or similar functionality, as well as any similar or derivative products which
13   Plaintiff has been unable to discover from publically withheld information to this point.
14   Plaintiff expressly reserves the right to seek leave of Court to further amend or
15   supplement this disclosure after discovery from Defendant or as permitted under the
16   rules.
17            At this time, and except as otherwise expressly noted in the claim chart, Plaintiff
18   contends and reasonably believes that all limitations of the Asserted Claims are present
19   literally. To the extent that any specific limitation of the Asserted Claims is found to
20   not be present literally, then Plaintiff contends that, if there are any differences between
21   the claim elements and the Accused Products, the differences are insubstantial and the
22   products would therefore infringe under the doctrine of equivalents. Plaintiff expressly
23   reserves the right to furhter amend or supplement these disclosures after discovery from
24   Defendant or as permitted under the rules.
25

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                   FIRST SUPPLEMENTED DISCLOSURE OF ASSERTED CLAIMS
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 1             d. 2.1.4 – Priority Date of Patents-in-Suit
 2         The ‘559 and ‘612 Patents are each continuations of the patent application issuing
 3   as the ‘371 Patent, U.S. Patent Application Ser. No. 13/603,218, which itself is a
 4   continuation of Continuation of application No. 12/950,379, filed on Nov. 19, 2010,
 5   now Pat. No. 8,285,249, which is a continuation of application No. 11/881,460, filed on
 6   Jul. 26, 2007, now Pat. No. 7,899,438, which is a continuation-in-part of application
 7   No. 11/824,336, filed on Jun. 28, 2007, now Pat. No. 7,945,238. Each of the Asserted
 8   Patents is therefore entitled to a priority date at least as early as June 28, 2007.
 9         Plaintiff contends, however, that each of the Asserted Claims are entitled to an
10   earlier priority date of September 14, 2005, which is the conception date for the
11   inventions claimed therein. This early conception date and subsequent diligent work in
12   reducing it to practice is supported by the Declaration filed by all inventors of the
13   Asserted Patents under C.F.R. § 1.131 during the prosecution of the patent application
14   issuing as the ‘612 Patent, U.S. Patent Application Ser. No. 13/786,922, produced as
15   part of the file history of the ‘612 Patent. The evidentiary support for this conception
16   date and subsequent reduction to practice are equally applicable to at least the Asserted
17   Claims of the ‘371 and ‘559 Patents, respectively.
18         Plaintiff expressly reserves the right to amend or supplement these disclosures as
19   permitted under the rules.
20             e. 2.1.5 – Kajeet’s Own Embodiments of the Claimed Invention
21         Plaintiff preserves the right to rely on an assertion that it has developed its own
22   products that practice the claimed inventions of the Patents-in-Suit. For example,
23   Plaintiff has developed its SmartSpot, SmartBus, and Sentinel products which embody
24   the Asserted Claims of the Patents-in-Suit.
25         Plaintiff expressly reserves the right to further amend or supplement these
26   disclosures as permitted under the rules.
27

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                 FIRST SUPPLEMENTED DISCLOSURE OF ASSERTED CLAIMS
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 1               f. 2.1.6 – Willful Infringement                                                    Formatted: Keep with next


 2            Plaintiff alleges that Qustodio’s infringement has been willful since at least June
 3   8, 2018. As set forth in specific detail within Plaintiff’s Complaint [Dkt. No. 1] and
 4   First Amended Complaint [Dkt. No. 57], Qustodio was apprised of the Asserted Patents
 5   and the claims of infringement presented therein via correspondence sent to Qustodio
 6   on that date. The correspondence listed each of the Asserted Patents and provided an
 7   exemplary claim chart demonstrating infringement of all Asserted Claims of the ‘371
 8   Patent. The claims chart noted that it was representative of additional infringement
 9   claims Kajeet had and has against Qustodio. Qustodio has acknowledged receipt of this
10   correspondence but refused to respond to it prior to Kajeet’s filing of its Complaint
11   several months later. As such, Qustodio has had knowledge of the Patents-in-Suit and
12   the infringing nature of the Accused Products since at least June 8, 2018.
13            Plaintiff expressly reserves the right to further amend or supplement these
14   disclosures as permitted under the rules.
15      II.      S.P.R. 2.2 – Document Production and Accompanying Disclosures
16            Pursuant to S.P.R. 2.2, Plaintiff will has serve produced the required non-
17   privileged, responsive documents which have been Bates numbered K000001 to
18   K007132 under the rules. Specifically, file histories for the Asserted Patents are
19   included in Plaintiff’s accompanying production at Bates Nos. K00006-K000997;
20   K000998-K002213; and K002214-K007132. Certified copies these file histories have
21   also been produced and Bates numbered K008138-K025341.
22            Documents evidencing ownership of the Asserted Patents by Kajeet have been
23   produced and are are included in Plaintiff’s accompanying production at BBates
24   numbered Nos. K000001-K000006.
25            Documents supporting Kajeet’s own embodiments of the claimed inventions and
26   demonstrating operation thereof are publicly available through Kajeet’s website and
27   may be accessed at at least the following webpages:
28            1. https://www.kajeet.net/smartspot;
                   FIRST SUPPLEMENTED DISCLOSURE OF ASSERTED CLAIMS
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 1        2. https://www.kajeet.net/smartbus;
 2        3. https://www.kajeet.net/sentinel; and,
 3        4. https://www.kajeet.net/support.
 4   These documents have been produced and are Bates numbered K007188-K007318.
 5                                                                                     Formatted: Indent: Left: 0", First line: 0"


 6   DATED: August 1, 2019                /s/ Richard A. Wojcio, Jr.
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               FIRST SUPPLEMENTED DISCLOSURE OF ASSERTED CLAIMS
                         AND INFRINGEMENT CONTENTIONS
                                      -7
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 1

 2                             CERTIFICATE OF SERVICE
 3          I hereby certify that on the 1st 11th day of August, 2019December, 2018, I       Formatted: Line spacing: single


 4
     electronically served the foregoing document to the attorneys of record for Defendant   Formatted: Superscript

     Qustodio, LLC as follows:
 5

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13                                               /s/ Richard A. Wojcio, Jr.

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                FIRST SUPPLEMENTED DISCLOSURE OF ASSERTED CLAIMS
                          AND INFRINGEMENT CONTENTIONS
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                                             Compare Results

                              Old File:                                                      New File:
      Exhibit A (371 Patent)(Qustodio for Family).pdf                         Supplemented Exhibit A (371 Patent).pdf
                                                             versus
                      34 pages (1.41 MB)                                                44 pages (1.83 MB)
                     12/11/2018 5:28:01 PM                                             8/1/2019 12:48:40 PM




                  Total Changes              Content                                        Styling and
                                                                                            Annotations
                                             56
                  72
                                                   Replacements
                                                                                             2   Styling
                                             13    Insertions
                                                                                             0   Annotations
                                             1     Deletion




                                                Go to First Change (page 2)




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                             EXHIBIT A


                    Kajeet, Inc. v. Qustodio, LLC
             Civil Action No. 8:18-cv-01519-JAK-PLA

                       U.S. Pat. No. 8,712,371
           䇾Feature Management of a Communication Device䇿
                         Claims 1-3, 5-8, 12

Accused Products: Qustodio for Family – Premium; Qustodio for Schools;
                       Qustodio for Business

                   Exhibit A – S.P.R. 2.1 Infringement Contentions
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Representative Product
  Accused Products


    Thissupplementalchartisaddressed,collectively,totheQustodioforFamily,QustodioforSchools,
         supplemental chart is addressed, collectively,
                                                      y to the Qustodio for Family,y Qustodio for Schools,
    andQustodioforBusinessproducts(hereinafter,“QustodioProducts”).
    and Qustodio for Business products (hereinafter, r “Qustodio Products”). Theproofsubmittedinthis
                                                                              The proof submitted in this
    claimchartisillustrativeratherthanexhaustiveandisrepresentativeof themannerinwhichthe
    claim chart is illustrative rather than exhaustive and is representative of the  manner in which the
    QustodioProductsinfringeatleasttheclaimsofthe‘371Patentpresentedherein.
    Qustodio Products infringe

    TheseinfringementcontentionsandevidenceareapplicabletoeachoftheQustodioProducts.The
                                   and evidence are applicable to each of the Qustodio Products. The
    QustodioProductseachcompriseidenticalinfringingfeaturesandfunctionalitytothoseshownand
    Qustodio Products each comprise identical infringing features and functionality to those shown and
    describedherein.
    described herein.




    PlaintiffisaccusingallversionsandreleasesoftheQustodioProductswhichhavebeenorwillbe
    Plaintiff is accusing all versions and releases of the Qustodio Products which have been or will be
    sold,serviced,orsupportedonorafterMarch4,2014,pursuantto35U.S.C.§271(a)-(c).
    sold, serviced, or supported on or after March 4, 2014, pursuant to 35U.S.C.§271(a)-(c).

    Plaintiff has
    Plaintiff  has relied
                    relied primarily
                            primarily on publicly available
                                       on publicly   available information  and products,
                                                                information and   products, and
                                                                                             and analysis
                                                                                                  analysis derived
                                                                                                             derived
    therefrom, as
    therefrom,    as Qustodio
                      Qustodio has  made only
                                has made     only scant
                                                   scant production
                                                           production of
                                                                        of technical
                                                                           technical documents
                                                                                      documents in  this litigation
                                                                                                  in this  litigation
    thusfar.
    thus    r Plaintiffreservestherighttofurtheramend
          far.  Plaintiff reserves the right to further amend orsupplementthesecontentionsandlisting
                                                                    or supplement these contentions and listing
    of Accused
    of  AccusedProductsbasedupon
                  Products based upon documentsand
                                            documents and other     discovery when
                                                              other discovery          received,aswell
                                                                                when received,            asfuture
                                                                                                 as well as    future
    versionsandreleasesoftheQustodioProducts.
    versions   and releases of the Qustodio Products.


                                 Exhibit A – S.P.R. 2.1 Infringement Contentions
          1
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Representative Product
  Accused Products




                             Exhibit A – S.P.R. 2.1 Infringement Contentions
          2
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Representative Product
  Accused Products




                             Exhibit A – S.P.R. 2.1 Infringement Contentions
          3
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‘371 Patent
 Claim: 1




[Preamble] A system for managing a computing device, the system comprising:

[Element A] a switch or a node configured to receive a request to or from the
computing device to perform one or more functions associated with the computing
device;

[Element B] a policy decider operable to access one or more policies that control one
or more functions associated with the computing device, the policy decider further
operable to generate a decisions to grant or deny the request based on the one or
more policies; and

[Element C] a policy enforcer operable to enforce the decision of the policy decider as
to whether the request has been granted or denied by transmitting data to the switch
or node, the data being indicative of one or more actions consistent with the decision
to the switch or node.



                       Exhibit A – S.P.R. 2.1 Infringement Contentions
    4
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       ‘371 Patent
  Claim: 1 – Preamble1
A system for managing a
computing device, the
system comprising:




• The Qustodio
  Products manage use
  of computing devices
  including laptops,
  tablets, and mobile
  phones, via
  enforcement of usage
  rules configured by
  administrators
  (parents, teachers,
  supervisors, e.g.) via                                          Source: Qustodio User Guide (June 2017) at p. 3
  a web-based
  dashboard.               1By charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not

                           a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                           infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.




                                        Exhibit A – S.P.R. 2.1 Infringement Contentions
            5
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 16 of 225 Page ID
                                               #:3718




       ‘371 Patent
  Claim: 1 – Preamble1
A system for managing a
computing device, the
system comprising:




• The Qustodio
  Products manage use
  of computing devices
  through application
  of policies defining
  when and what
  features and content
  are accessible from
  managed devices.

                                                          Source: https://www.qustodio.com/en/family/how-it-works/

                          1By charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not

                          a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                          infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.




                                       Exhibit A – S.P.R. 2.1 Infringement Contentions
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            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 17 of 225 Page ID
                                               #:3719




       ‘371 Patent
  Claim: 1 – Preamble1
A system for managing a
computing device, the
system comprising:




• The Qustodio
  Products
  accommodate
  selectively permitting
  or blocking access to
  device features, such
  as Internet content,
  calls, texts, contacts,
  and applications.
• The Qustodio
  Products apply time-                                             Source: Qustodio User Guide (June 2017) at p. 4
  based policies for
  limiting access to        1By charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not

  device features in        a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                            infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.
  accordance with daily
  time limits or usage
  schedules.
                                         Exhibit A – S.P.R. 2.1 Infringement Contentions
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       ‘371 Patent
  Claim: 1 – Preamble1
A system for managing a
computing device, the
system comprising:




• The Qustodio
  Products selectively
  permit or block
  access to device
  features, such as
  Internet content,
  calls, texts, contacts,
  and applications.
• The Qustodio
  Products apply time-
  based policies for                                               Source: https://www.qustodio.com/en/family/premium/
  limiting access to
  device features in        1By charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not

  accordance with daily     a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                            infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.
  time limits or usage
  schedules.

                                         Exhibit A – S.P.R. 2.1 Infringement Contentions
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                                               #:3721




       ‘371 Patent
  Claim: 1 – Preamble1
A system for managing a
computing device, the
system comprising:




• The Qustodio
  Products manage
  Android and iOS
  smartphones,
  Windows or Mac
  laptops/computers,
  and on Kindles.



                                                          Source: https://www.qustodio.com/en/family/how-it-works/

                          1By charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not

                          a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                          infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.




                                       Exhibit A – S.P.R. 2.1 Infringement Contentions
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            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 20 of 225 Page ID
                                               #:3722




       ‘371 Patent
  Claim: 1 – Preamble1
A system for managing a
computing device, the
system comprising:




• The Qustodio
  Products operate to
  control use of
  iPhones, iPads, and
  other computing
  devices which
  operate on cellular
  and/or Internet
  networks managed
  by cellular and
  internet service
  providers,
  respectively.

                                                        Source: https://www.qustodio.com/en/family/how-it-works/
                          1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                          a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                          infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

           10                                            Exhibit A – S.P.R. 2.1 Infringement Contentions
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                                                #:3723




       ‘371 Patent
   Claim: 1 – Element A
a switch or a node
configured to receive a
request to or from the
computing device to
perform one or more
functions associated with
the computing device;




• Qustodio’s servers
  host its user interface
  dashboard from
  which administrators
  can see all monitored
  devices and usage.
• Usage requests are
  routed from each
  controlled device
  through the Qustodio
  server.
                                                   Source: https://www.qustodio.com/en/family/how-it-works/

                            Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                         Exhibit A – S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 22 of 225 Page ID
                                                #:3724




       ‘371 Patent
   Claim: 1 – Element A
a switch or a node
configured to receive a
request to or from the
computing device to
perform one or more
functions associated with
the computing device;




• The Qustodio
  Products required
  access and
  permissions cause all
  actions taken and
  content viewed on a
  managed device to
  be routed through
  one or more servers
  of Qustodio.


                                                           Source: Qustodio User Guide (June 2017) at p. 33

                            Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                         Exhibit A – S.P.R. 2.1 Infringement Contentions
           12
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 23 of 225 Page ID
                                                #:3725




       ‘371 Patent
   Claim: 1 – Element A
a switch or a node
configured to receive a
request to or from the
computing device to
perform one or more
functions associated with
the computing device;
• The local agent of the
  Qustodio Products
  causes requests to
  communicate with
  remote computing
  devices to be sent to
  Qustodio’s MDM
  server for application
  of usage policies
  controlling at least
  the use of
  applications, games,
  internet connectivity,
  among other uses to
  effect screen time
  control on iOS
  devices.                                                Source: https://www.qustodio.com/en/family/how-it-works/

                            Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           13                                                Exhibit A – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 24 of 225 Page ID
                                                #:3726




       ‘371 Patent
   Claim: 1 – Element A
a switch or a node
configured to receive a
request to or from the
computing device to
perform one or more
functions associated with
the computing device;

• The local agent of the
  Qustodio Products
  causes requests to
  communicate with
  remote computing
  devices to be sent to
  Qustodio’s MDM
  server for application
  of usage policies
  controlling at least
  the use of
  applications, games,
  internet connectivity,
                       y
  among other uses to
  effect screen time                                               Source: https://www.qustodio.com/en/family/premium/
  control on iOS
  devices.
                            Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           14                                                Exhibit A – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 25 of 225 Page ID
                                                #:3727




       ‘371 Patent
   Claim: 1 – Element A
a switch or a node
configured to receive a
request to or from the
computing device to
perform one or more
functions associated with
the computing device;
• The local agent of the
  Qustodio Products
  causes requests to
  communicate with
  remote computing
  devices to be sent to
  Qustodio’s MDM
  server for application
  of usage policies
  controlling at least
  the use of
  applications, games,
  internet connectivity,
  among other uses to
  effect screen time
  control on iOS
  devices.                                                 Source: Qustodio User Guide (June 2017) at p. 46-47

                            Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           15                                                Exhibit A – S.P.R. 2.1 Infringement Contentions
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                                                #:3728




       ‘371 Patent
   Claim: 1 – Element A
a switch or a node
configured to receive a
request to or from the
computing device to
perform one or more
functions associated with
the computing device;




                            Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           16                                                Exhibit A – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 27 of 225 Page ID
                                                #:3729




       ‘371 Patent
   Claim: 1 – Element B
a policy decider operable
to access one or more
policies that control one
or more functions
associated with the
computing device, the
policy decider further
operable to generate a
decision to grant or deny
the request based on the
one or more policies; and

• The Qustodio
  Products comprise a
  policy decider
  applying profile
  policies to manage
  the use of computing
  devices.
• The policy decider
  compares requests to
  policies to generate
  decisions on usage
  requests.
                                                                Source: Qustodio User Guide (June 2017) at p. 8
                            Claim 1, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                        Exhibit A – S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 28 of 225 Page ID
                                                #:3730




       ‘371 Patent
   Claim: 1 – Element B
a policy decider operable
to access one or more
policies that control one
or more functions
associated with the
computing device, the
policy decider further
operable to generate a
decision to grant or deny
the request based on the
one or more policies; and

• The Qustodio
  Products require:
  access to WiFi
  connection
  information for a
  managed device; App
  Supervision must be
  activated; Usage
  Access must be
  permitted; and, Web
  Supervision must be
  activated on a                                            Source: Qustodio User Guide (June 2017) at pp. 27, 30-32
  managed device so
  Qustodio can              Claim 1, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
  intercept and             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
  compare all usage         substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.
  requests to policies.
                                        Exhibit A – S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 29 of 225 Page ID
                                                #:3731




       ‘371 Patent
   Claim: 1 – Element B
a policy decider operable
to access one or more
policies that control one
or more functions
associated with the
computing device, the
policy decider further
operable to generate a
decision to grant or deny
the request based on the
one or more policies; and

• Similarly, on iOS
  devices, The
  Qustodio Products
  require Mobile
  Device Management
  and Remote
  Management to be
  enabled so The
  Qustodio Products
  can intercept and
  compare all usage
  requests to policies.
                                                           Source: Qustodio User Guide (June 2017) at pp. 47-48
                            Claim 1, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                        Exhibit A – S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 30 of 225 Page ID
                                                #:3732




       ‘371 Patent
   Claim: 1 – Element B
a policy decider operable
to access one or more
policies that control one
or more functions
associated with the
computing device, the
policy decider further
operable to generate a
decision to grant or deny
the request based on the
one or more policies; and

• The Qustodio
  Products comprise a
  policy decider
  element for
  comparing requested
  uses to usage
  policies, or Rules,
  configured by an
  administrator via the
  administrator
  application or an
  online dashboard.
                                                            Source: Qustodio User Guide (June 2017) at p. 75
                            Claim 1, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                        Exhibit A – S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 31 of 225 Page ID
                                                #:3733




       ‘371 Patent
   Claim: 1 – Element B
a policy decider operable
to access one or more
policies that control one
or more functions
associated with the
computing device, the
policy decider further
operable to generate a
decision to grant or deny
the request based on the
one or more policies; and




                            Claim 1, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           21                                                Exhibit A – S.P.R. 2.1 Infringement Contentions
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                                                #:3734




       ‘371 Patent
   Claim: 1 – Element C
a policy enforcer operable
to enforce the decision of
the policy decider as to
whether the request has
been granted or denied by
transmitting data to the
switch or node, the data
being indicative of one or
more actions consistent
with the decision to the
switch or node.


• The Qustodio
  Products either
  permits requested
  usage or block it in
  accordance with the
  decision generated
  by the policy decider.
• Decisions are logged
  on Qustodio servers.
• Disallowed requests
  result in a “block
  screen” on the                                                Source: https://www.qustodio.com/en/family/how-it-works/
  managed device.            Claim 1, Element C- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                          Exhibit A – S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 33 of 225 Page ID
                                                #:3735




       ‘371 Patent
   Claim: 1 – Element C
a policy enforcer operable
to enforce the decision of
the policy decider as to
whether the request has
been granted or denied by
transmitting data to the
switch or node, the data
being indicative of one or
more actions consistent
with the decision to the
switch or node.


• The Qustodio
  Products either
  permit requested
  usage or block it in
  accordance with the
  decision generated
  by the policy decider.
• Decisions are logged
  on Qustodio servers.
• Disallowed requests
  result in a “block
  screen” on the                                                Source: https://www.qustodio.com/en/family/how-it-works/
  managed device.            Claim 1, Element C- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                          Exhibit A – S.P.R. 2.1 Infringement Contentions
           23
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 34 of 225 Page ID
                                                #:3736




       ‘371 Patent
   Claim: 1 – Element C
a policy enforcer operable
to enforce the decision of
the policy decider as to
whether the request has
been granted or denied by
transmitting data to the
switch or node, the data
being indicative of one or
more actions consistent
with the decision to the
switch or node.




                             Claim 1, Element C- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


           24                                                 Exhibit A – S.P.R. 2.1 Infringement Contentions
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                                        #:3737




‘371 Patent
 Claim: 2




[Preamble] The system of claim 1,

[Element A] wherein the computing device is a mobile phone.




                       Exhibit A - S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 36 of 225 Page ID
                                                #:3738




       ‘371 Patent
         Claim: 2
The system of claim 1,
wherein the computing
device is a mobile phone.




• The Qustodio
  Products are
  compatible for use
  with Android and iOS
  smartphones.




                                                            Source: https://www.qustodio.com/en/family/how-it-works/



                            Claim 2 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                            the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                            differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                            function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                            Exhibit A - S.P.R. 2.1 Infringement Contentions
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     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 37 of 225 Page ID
                                        #:3739




‘371 Patent
 Claim: 3




[Preamble] The system of claim 1,

[Element A] wherein the one or more policies comprises a limit on units of
value that can be used to perform the one or more functions,

[Element B] wherein the decision denies the request when performing the
function causes the limit to be exceeded.




                       Exhibit A - S.P.R. 2.1 Infringement Contentions
    27
              Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 38 of 225 Page ID
                                                 #:3740




        ‘371 Patent
         Claim: 3
The system of claim 1,
wherein the one or more
policies comprises a limit
on units of value that can
be used to perform the
one or more functions,
wherein the decision
denies the request when
performing the function
causes the limit to be
exceeded.

• Qustodio
  accommodates Time
  Usage Limits defining
  daily maximum time
  allotments and usage
  scheduling.
• Requests for access
  are blocked once a
  time limit is met.



                                                                 Source: https://www.qustodio.com/en/family/how-it-works/
                             Claim 3 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                             the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                             differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                             function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                             Exhibit A - S.P.R. 2.1 Infringement Contentions
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     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 39 of 225 Page ID
                                        #:3741




‘371 Patent
 Claim: 5




[Preamble] The system of claim 1,

[Element A] wherein the one or more functions comprise one or more of
voice calling, messaging, data surfing, gaming, content accessing, goods
purchasing, and service purchasing.




                       Exhibit A - S.P.R. 2.1 Infringement Contentions
    29
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 40 of 225 Page ID
                                                #:3742




       ‘371 Patent
         Claim: 5
The system of claim 1,
wherein the one or more
functions comprise one or
more of voice calling,
messaging, data surfing,
gaming, content accessing,
goods purchasing, and
service purchasing.




• The Qustodio
  Products apply
  policies to decide
  whether access to
  web content,
  w
  applications, phone
  calls, or text
  messaging is
  permitted or
  prohibited for a
  device associated to                                              Source: Qustodio User Guide (June 2017) at p. 4
  a particular profile.

                             Claim 5 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                             the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                             differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                             function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                             Exhibit A - S.P.R. 2.1 Infringement Contentions
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                                        #:3743




‘371 Patent
 Claim: 6




[Preamble] The system of claim 1,

[Element A] wherein the one or more policies comprise one or more of a
time-based policy, a location-based policy, and a quality of service-based
policy.




                       Exhibit A - S.P.R. 2.1 Infringement Contentions
    31
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 42 of 225 Page ID
                                                #:3744




       ‘371 Patent
        Claim: 6
The system of claim 1,
wherein the one or more
policies comprise one or
more of a time-based
policy, a location-based
policy, and a quality of
service-based policy.




• The Qustodio
  Products
  accommodate Time
  Usage Limits defining
  daily maximum time
  allotments and
  allowed usage
  scheduling by profile
  and/or by device.



                                                            Source: Qustodio User Guide (June 2017) at p. 81
                           Claim 6 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                           the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                           differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                           function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                           Exhibit A - S.P.R. 2.1 Infringement Contentions
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     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 43 of 225 Page ID
                                        #:3745




‘371 Patent
 Claim: 7




[Preamble] The system of claim 1,

[Element A] wherein the computing device is associated with an account
managed by an administrator, wherein the account is shared with a plurality
of computing devices.




                       Exhibit A - S.P.R. 2.1 Infringement Contentions
    33
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 44 of 225 Page ID
                                                #:3746




       ‘371 Patent
         Claim: 7
The system of claim 1,
wherein the computing
device is associated with
an account managed by an
administrator, wherein the
account is shared with a
plurality of computing
devices.




• Devices are named by
  an administrator and
  associated to a
  particular user profile
  during installation
  and setup.
• Policies are then set
  for a profile via the
  online dashboard and
  applied to all devices
  associated to that
  user profile.
                               Source: Qustodio User Guide (June 2017) at pp. 29-30
                             Claim 7 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                             the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                             differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                             function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                             Exhibit A - S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 45 of 225 Page ID
                                                #:3747




       ‘371 Patent
         Claim: 7
The system of claim 1,
wherein the computing
device is associated with
an account managed by an
administrator, wherein the
account is shared with a
plurality of computing
devices.




• Devices are named by
  an administrator and
  associated to a
  particular user profile
  during installation
  and setup.
• Policies are then set
  for a profile via the
  online dashboard and
  applied to all devices
  associated to that
  user profile.                                               Source: Qustodio User Guide (June 2017) at pp. 72

                             Claim 7 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                             the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                             differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                             function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                             Exhibit A - S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 46 of 225 Page ID
                                                #:3748




       ‘371 Patent
         Claim: 7
The system of claim 1,
wherein the computing
device is associated with
an account managed by an
administrator, wherein the
account is shared with a
plurality of computing
devices.




• Devices are named by
  an administrator and
  associated to a
  particular user profile
  during installation
  and setup.
• Policies are then set
  for a profile via the
  online dashboard and
  applied to all devices
  associated to that
  user profile.
                                                              Source: Qustodio
                                                                           d User Guide
                                                                                     d ((June 2017) at p. 74
• Dashboard displays
                             Claim 7 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
  data for all devices       the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
  associated to a            differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
  particular profile.        function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                             Exhibit A - S.P.R. 2.1 Infringement Contentions
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                                        #:3749




‘371 Patent
 Claim: 8




[Preamble] The system of claim 7,

[Element A] wherein the one or more policies are accessible using an
interface, and wherein each computing device from the plurality of
computing devices is associated with a list of one or more policies, and

[Element B] wherein each list of one or more policies is customizable based
on input received at the interface.




                       Exhibit A - S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 48 of 225 Page ID
                                                #:3750




       ‘371 Patent
         Claim: 8
The system of claim 7,
wherein the one or more
policies are accessible
using an interface, and
wherein each computing
device from the plurality
of computing devices is
associated with a list of
one or more policies, and
wherein each list of one or
more policies is
customizable based on
input received at the
interface.
• Policies, such as the
  time-based policies
  shown, are accessible
  and configurable
  through an online
  dashboard.
• Policies set
  correspond to
  administrator defined
  profiles which are
                                                               Source: Qustodio User Guide (June 2017) at p. 81
  applied to devices
                              Claim 8 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
  associated to a             the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
  profile.                    differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                              function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                              Exhibit A - S.P.R. 2.1 Infringement Contentions
            38
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 49 of 225 Page ID
                                                #:3751




       ‘371 Patent
         Claim: 8
The system of claim 7,
wherein the one or more
policies are accessible
using an interface, and
wherein each computing
device from the plurality
of computing devices is
associated with a list of
one or more policies, and
wherein each list of one or
more policies is
customizable based on
input received at the
interface.
• Policies, such as the
  time-based policies
  shown, are also
  accessible and
  configurable through
  an application
  running on an
  administrator’s
  mobile device, such
  as the Parent App.
                                                               Source: Qustodio User Guide (June 2017) at p. 125-26
                              Claim 8 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                              the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                              differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                              function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                              Exhibit A - S.P.R. 2.1 Infringement Contentions
            39
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 50 of 225 Page ID
                                                #:3752




       ‘371 Patent
         Claim: 8
The system of claim 7,
wherein the one or more
policies are accessible
using an interface, and
wherein each computing
device from the plurality
of computing devices is
associated with a list of
one or more policies, and
wherein each list of one or
more policies is
customizable based on
input received at the
interface.
• Policies, or Rules, are
  accessible and
  configurable through
  an online dashboard.
• Policies set
  correspond to
  administrator defined
  profiles which are
  applied to devices
  associated to a
                                                               Source: Qustodio User Guide (June 2017) at p. 75
  profile.
                              Claim 8 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                              the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                              differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                              function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                              Exhibit A - S.P.R. 2.1 Infringement Contentions
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                                        #:3753




‘371 Patent
 Claim: 12




[Preamble] The system of claim 1,

[Element A] wherein the computing device is used by a user and managed by
an administrator, and

[Element B] wherein the one or more actions consistent with the decision
comprise a notification directed to the administrator, the user, or both the
administrator and the user when the decision denies the request.




                       Exhibit A - S.P.R. 2.1 Infringement Contentions
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                                                #:3754




       ‘371 Patent
        Claim: 12
The system of claim 1,
wherein the computing
device is used by a user
and managed by an
administrator, and
wherein the one or more
actions consistent with
the decision comprise a
notification directed to
the administrator, the
user, or both the
administrator and the user
when the decision denies
the request.
• The Qustodio
  Products will alert
  users when a usage
  request has been
  blocked, such as
  when the user
  requests access to a
  disallowed website.


                                                               Source: https://www.qustodio.com/en/
                             Claim 12 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                             under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                             such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                             same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                            Exhibit A - S.P.R. 2.1 Infringement Contentions
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                                                #:3755




       ‘371 Patent
        Claim: 12
The system of claim 1,
wherein the computing
device is used by a user
and managed by an
administrator, and
wherein the one or more
actions consistent with
the decision comprise a
notification directed to
the administrator, the
user, or both the
administrator and the user
when the decision denies
the request.

• The Qustodio
  Products either
  permit requested
  usage or block via
  application of rules.
• Disallowed requests
  result in a “blocked”                   Source: https://apps.apple.com/us/app/qustodio-parental-control/id990229433?ls=1
  to “time’s up” screen
  on the computing
  device.

                             Claim 12 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                             under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                             such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                             same function in substantially the same way to achieve substantially the same result as recited in this claim element.


           43                                                 Exhibit A – S.P.R. 2.1 Infringement Contentions
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                                                 #:3756

                                                       8/9/2019 11:02:15 AM


                                             Compare Results

                              Old File:                                                      New File:
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                                                                                            Annotations
                                             128
                  241
                                                        Replacements
                                                                                             8   Styling
                                             92         Insertions
                                                                                             0   Annotations
                                             13         Deletions




                                                Go to First Change (page 1)




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                             EXHIBIT B


                    Kajeet,
                      j t Inc. v. Qustodio,
                                       dio LLC
             Civil Action No. 8:18-cv-01519-JAK-PLA
                              8:18 cv 01519 JAK PLA

                         U.S. Pat. No. 8,667,559
           䇾Feature Management of a Communication Device䇿
                  Claims 1-3, 5, 6, 11-17, 27, 28, and 30

Accused Products: Qustodio for Family – Premium; Qustodio for Schools;
                       Qustodio for Business

                   Exhibit B – S.P.R. 2.1 Infringement Contentions
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                                              #:3758




       ntative Product
Representative    duct
  Accused Products


    Thissupplementalchartisaddressed,collectively,totheQustodioforFamily,QustodioforSchools,
         supplemental chart is addressed, collectively,
                                                      y to the Qustodio for Family,
                                                                                  y Qustodio for Schools,
    andQustodioforBusinessproducts(hereinafter,“QustodioProducts”).
    and  Qustodio for Business products (hereinafter,                         Theproofsubmittedinthis
                                                     r “Qustodio Products”). The   proof submitted in this
    claimchartisillustrativeratherthanexhaustiveandisrepresentativeofthemannerinwhichthe
    claim chart is illustrative rather than exhaustive and is representative of the manner in which the
    QustodioProductsinfringeatleasttheclaimsofthe'559Patentpresentedherein.
    Qustodio  Products infringe

    TheseinfringementcontentionsandevidenceareapplicabletoeachoftheQustodioProducts.The
                                   and evidence are applicable to each of the Qustodio Products. The
    QustodioProductseachcompriseidenticalinfringingfeaturesandfunctionalitytothoseshownand
    Qustodio Products each comprise identical infringing features and functionality to those shown and
    describedherein.
    described herein.




    PlaintiffisaccusingallversionsandreleasesoftheQustodioProductswhichhavebeenorwillbe
    Plaintiff is accusing all versions and releases of the Qustodio Products which have been or will be
    sold,serviced,orsupportedonorafterMarch4,2014,pursuantto35U.S.C.§271(a)-(c).
    sold, serviced, or supported on or after March 4, 2014, pursuant to 35U.S.C.§271(a)-(c).

    Plaintiff has
    Plaintiff  has relied
                    relied primarily
                            primarily on
                                       on publicly
                                           publicly available
                                                     available information
                                                                information and
                                                                             and products,
                                                                                  products, and
                                                                                             and analysis
                                                                                                  analysis derived
                                                                                                              derived
    therefrom, as
    therefrom,    as Qustodio
                      Qustodio has
                                has made
                                      made only
                                             only scant
                                                    scant production
                                                           production of
                                                                       of technical
                                                                           technical documents
                                                                                      documents in
                                                                                                  in this
                                                                                                      this litigation
                                                                                                            litigation
    thusfar.
    thus        Plaintiffreservestherighttofurtheramendorsupplementthesecontentionsandlisting
         far.r Plaintiff  reserves the right to further amend or supplement these contentions and listing
    ofAccusedProductsbasedupondocumentsandotherdiscoverywhenreceived,aswellasfuture
    of Accused Products based upon documents and other discovery when received, as well as future
    versionsandreleasesoftheQustodioProducts.
    versions   and releases of the Qustodio Products.


                                 Exhibit B – S.P.R. 2.1 Infringement Contentions
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           Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 57 of 225 Page ID
                                              #:3759




Representative Product
  Accused Products




                             Exhibit B – S.P.R. 2.1 Infringement Contentions
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                                              #:3760




Representative Product
  Accused Products




                             Exhibit B – S.P.R. 2.1 Infringement Contentions
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     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 59 of 225 Page ID
                                        #:3761




'559 Patent
 Claim 1



[Preamble] A non-transitory computer readable storage medium comprising
instructions that, when executed on a computing device configured to perform a
function on a communication network managed by a service provider, cause the
computing device to at least:

[Element A] send to a server a request to communicate with a remote computing
device over the communication network;

[Element B] receive in real-time from the server a response indicative of a decision
granting or denying the request, the decision being based on one or more policies
that are stored at the server and based at least in part on input from an
administrator; and

[Element C] enforce the response by enabling the requested communication with the
remote computing device over the communication network when the decision grants
the request and by disabling the communication when the response denies the
request, the communication being enabled or disabled without accessing the one or
more policies by the computing device.


                       Exhibit B – S.P.R. 2.1 Infringement Contentions
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            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 60 of 225 Page ID
                                               #:3762




       '559 Patent
   Claim 1 – Preamble1
A non-transitory computer
readable storage medium
comprising instructions
that, when executed on a
computing device
configured to perform a
function on a
communication network
managed by a service
provider, cause the
computing device to at
least:

• Qustodio provides
  “the Qustodio
  application” which
  “provides multiple
  layers of protection
  and control” of
  computing devices in
  connection with each
  of the Qustodio
  Products .
• The application is
  usable “at home, at
  school, at work, or
  anywhere else” for                                             Source: Qustodio User Guide (June 2017) at p. 3
  “everything users do      1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
  online or offline.”       a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                            infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.
            5                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 61 of 225 Page ID
                                               #:3763




       '559 Patent
   Claim 1 – Preamble1
A non-transitory computer
readable storage medium
comprising instructions
that, when executed on a
computing device
configured to perform a
function on a
communication network
managed by a service
provider, cause the
computing device to at
least:

• The Qustodio
  Products operate to
  control use of
  iPhones, iPads, and
  other computing
  devices which
  operate on cellular
  and/or Internet
  networks managed
  by cellular and
  internet service
  providers,
  respectively.
                                                          Source: https://www.qustodio.com/en/family/how-it-works/
                            1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                            a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                            infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

            6                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 62 of 225 Page ID
                                                #:3764




       '559 Patent
   Claim 1 – Preamble1
A non-transitory computer
readable storage medium
comprising instructions
that, when executed on a
computing device
configured to perform a
function on a
communication network
managed by a service
provider, cause the
computing device to at
least:

• The Qustodio
  Products require
  installation of a local
  agent (mobile
  application) in the
  memory of each
  device to be
  controlled.
• The local agent
  comprises executable
  instructions for
  controlling operation
  of the device to
  perform functions.                                      Source: Qustodio User Guide (June 2017) at p. 8
                            1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                            a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                            infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

            7                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 63 of 225 Page ID
                                                #:3765




       '559 Patent
   Claim 1 – Preamble1
A non-transitory computer
readable storage medium
comprising instructions
that, when executed on a
computing device
configured to perform a
function on a
communication network
managed by a service
provider, cause the
computing device to at
least:

• The Qustodio
  Products require
  installation of a local
  agent (mobile
  application) in the
  memory of each
  device to be
  controlled.
• Execution of the
  “local agent” on a
  controlled device
  “allows Qustodio to
  supervise this
  device.”                                                Source: Qustodio User Guide (June 2017) at p. 46
                            1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                            a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                            infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

            8                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 64 of 225 Page ID
                                               #:3766




       '559 Patent
   Claim 1 – Preamble1
A non-transitory computer
readable storage medium
comprising instructions
that, when executed on a
computing device
configured to perform a
function on a
communication network
managed by a service
provider, cause the
computing device to at
least:

• The local agent of the
  Qustodio Products
  operates under an
  Apple Mobile Device
  Management
  (“MDM”) Certificate.




                                                          Source: Qustodio User Guide (June 2017) at p. 46-47
                            1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                            a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                            infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

            9                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 65 of 225 Page ID
                                               #:3767




       '559 Patent
   Claim 1 – Preamble1
A non-transitory computer
readable storage medium
comprising instructions
that, when executed on a
computing device
configured to perform a
function on a
communication network
managed by a service
provider, cause the
computing device to at
least:

• The local agent of the
  Qustodio Products
  applies MDM
  protocol to obtain
  “control and access
  over a device.”




                                        Source: https://www.apple.com/newsroom/2019/04/the-facts
                                                                                          -     -about-parental-control-apps/
                                                https://www.apple.com/newsroom/2019/04/the-facts-about-parental-control-apps/
                            1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                            a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                            infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

           10                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 66 of 225 Page ID
                                               #:3768




       '559 Patent
   Claim 1 – Preamble1
A non-transitory computer
readable storage medium
comprising instructions
that, when executed on a
computing device
configured to perform a
function on a
communication network
managed by a service
provider, cause the
computing device to at
least:

• The local agent of the
  Qustodio Products
  applies MDM
  protocol to obtain
  “control and access
  over a device.”
• MDM protocol
  “allows for OS level
  control of multiple
  devices from a
  centralized location.”
                                          Source: https://www.apple.com/newsroom/2019/04/the-facts
                                                  https://www.apple.com/newsroom/2019/04/the-facts-about-parental-control-apps/
                                                                                            -     -about-parental-control-apps/


                            1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                            a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                            infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

           11                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 67 of 225 Page ID
                                               #:3769




       '559 Patent
   Claim 1 – Preamble1
A non-transitory computer
readable storage medium
comprising instructions
that, when executed on a
computing device
configured to perform a
function on a
communication network
managed by a service
provider, cause the
computing device to at
least:

• The local agent of the
  Qustodio Products
  applies MDM
  protocol to force the
  controlled device to
  interact with an
  MDM server to
  “exchange commands
  and responses” to
  control use of the
  device and its
  features/functions.
                                          Source: https://medium.com/swlh/mobile-device-management-mdm-for
                                                                                                      - -ios-60448313dafb
                                                  https://medium.com/swlh/mobile-device-management-mdm-for-ios-60448313dafb

                            1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                            a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                            infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

           12                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 68 of 225 Page ID
                                                #:3770




        '559 Patent
   Claim 1 – Element A
send to a server a request
to communicate with a
remote computing device
over the communication
network;

• The local agent of the
  Qustodio Products
  causes requests to
  communicate with
  remote computing
  devices to be sent to
  Qustodio’s MDM
  server for application
  of usage policies
  controlling at least
  the use of
  applications, games,
  internet connectivity,
  among other uses to
  effect screen time
  control on iOS
  devices.
                                                           Source: https://www.qustodio.com/en/family/how-it-works/

                             Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            13                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 69 of 225 Page ID
                                                #:3771




        '559 Patent
   Claim 1 – Element A
send to a server a request
to communicate with a
remote computing device
over the communication
network;

• The local agent of the
  Qustodio Products
  causes requests to
  communicate with
  remote computing
  devices to be sent to
  Qustodio’s MDM
  server for application
  of usage policies
  controlling at least
  the use of
  applications, games,
  internet connectivity,
  among other uses to
  effect screen time
  control on iOS                                                    Source: https://www.qustodio.com/en/family/premium/
  devices.


                             Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            14                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 70 of 225 Page ID
                                                #:3772




        '559 Patent
   Claim 1 – Element A
send to a server a request
to communicate with a
remote computing device
over the communication
network;

• The local agent of the
  Qustodio Products
  causes requests to
  communicate with
  remote computing
  devices to be sent to
  Qustodio’s MDM
  server for application
  of usage policies
  controlling at least
  the use of
  applications, games,
  internet connectivity,
  among other uses to
  effect screen time
  control on iOS
  devices.
                                                            Source: Qustodio User Guide (June 2017) at p. 46-47

                             Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            15                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 71 of 225 Page ID
                                                #:3773




        '559 Patent
   Claim 1 – Element A
send to a server a request
to communicate with a
remote computing device
over the communication
network;




                             Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            16                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 72 of 225 Page ID
                                                #:3774




        '559 Patent
   Claim 1 – Element B
receive in real-time from
the server a response
indicative of a decision
granting or denying the
request, the decision
being based on one or
more policies that are
stored at the server and
based at least in part on
input from an
administrator; and

• The Qustodio
  Products either
  permit or block
  requested in
  accordance with the
  decision generated at
  Qustodio’s servers.
• Decisions are logged
  on Qustodio servers.                   Source: https://apps.apple.com/us/app/qustodio-parental-control/id990229433?ls=1
• Disallowed requests
  result in a “block
  screen” on the
  managed device.
                            Claim 1, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            17                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 73 of 225 Page ID
                                                #:3775




        '559 Patent
   Claim 1 – Element B
receive in real-time from
the server a response
indicative of a decision
granting or denying the
request, the decision
being based on one or
more policies that are
stored at the server and
based at least in part on
input from an
administrator; and

• The Qustodio
  Products allow or
  block requested uses
  of a managed device
  in accordance with
  the decision
  generated at
  Qustodio’s servers.
• Policies are set by
  administrators via an
  online dashboard and
  stored on Qustodio’s
  servers for use to                      Source: https://apps.apple.com/us/app/qustodio-parental-control/id990229433?ls=1
  control use of
  managed devices.          Claim 1, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            18                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 74 of 225 Page ID
                                                #:3776




        '559 Patent
   Claim 1 – Element B
receive in real-time from
the server a response
indicative of a decision
granting or denying the
request, the decision
being based on one or
more policies that are
stored at the server and
based at least in part on
input from an
administrator; and




                            Claim 1, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            19                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 75 of 225 Page ID
                                                #:3777




        '559 Patent
   Claim 1 – Element B
receive in real-time from
the server a response
indicative of a decision
granting or denying the
request, the decision
being based on one or
more policies that are
stored at the server and
based at least in part on
input from an
administrator; and

• Rules, such as time
  usage limits, web
  browsing rules, and
  application rules are
  configured by
  administrators and
  stored on Qustodio’s
  remote servers via a
  web dashboard
  interface.


                                                            Source: Qustodio User Guide (June 2017) at p. 81

                            Claim 1, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            20                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 76 of 225 Page ID
                                                #:3778




        '559 Patent
   Claim 1 – Element B
receive in real-time from
the server a response
indicative of a decision
granting or denying the
request, the decision
being based on one or
more policies that are
stored at the server and
based at least in part on
input from an
administrator; and

• Rules, such as time
  usage limits, web
  browsing rules, and
  application rules are
  configured by
  administrators and
  stored on Qustodio’s
  remote servers via a
  web dashboard
  interface.


                                                            Source: Qustodio User Guide (June 2017) at pp. 72, 75

                            Claim 1, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            21                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 77 of 225 Page ID
                                                #:3779




       '559 Patent
   Claim 1 – Element C
enforce the response by
enabling the requested
communication with the
remote computing device
over the communication
network when the
decision grants the
request and by disabling
the communication when
the response denies the
request, the
communication being
enabled or disabled
without accessing the one
or more policies by the
computing device.

• The Qustodio
  Products either
  permit requested
  usage or block via
  application of profile
                                         Source: https://apps.apple.com/us/app/qustodio-parental-control/id990229433?ls=1
  rules.
• Decisions are logged
  on Qustodio servers.
• Disallowed requests
  result in a “block        Claim 1, Element C- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
  screen” on the            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
  managed device.           element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


           22                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 78 of 225 Page ID
                                                #:3780




       '559 Patent
   Claim 1 – Element C
enforce the response by
enabling the requested
communication with the
remote computing device
over the communication
network when the
decision grants the
request and by disabling
the communication when
the response denies the
request, the
communication being
enabled or disabled
without accessing the one
or more policies by the
computing device.




                            Claim 1, Element C- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


           23                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 79 of 225 Page ID
                                        #:3781




'559 Patent
 Claim 2




The non-transitory computer readable storage medium of Claim 1, wherein
the computing device is a mobile phone.




                       Exhibit B - S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 80 of 225 Page ID
                                                #:3782




       '559 Patent
         Claim 2
The non-transitory
computer readable
storage medium of Claim
1, wherein the computing
device is a mobile phone.




• The Qustodio
  Products “support
  iPhones” using MDM
  technology to
  “monitor internet
  use, control 50 apps,
  and disable internet
  when time is up.”




                                                           Source: https://www.qustodio.com/en/family/how-it-works/

                            Claim 2 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                            the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                            differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                            function in substantially the same way to achieve substantially the same result as recited in this claim element.

           25                                                 Exhibit B – S.P.R. 2.1 Infringement Contentions
     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 81 of 225 Page ID
                                        #:3783




'559 Patent
 Claim 3




The non-transitory computer readable storage medium of Claim 1, wherein
the one or more policies comprise a limit on units of value that can be used
to communicate with the remote computing device, wherein the decision
denies the request when communicating with the remote computing device
causes the limit to be exceeded.




                       Exhibit B - S.P.R. 2.1 Infringement Contentions
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              Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 82 of 225 Page ID
                                                 #:3784




        '559 Patent
          Claim 3
The non-transitory
computer readable
storage medium of Claim
1, wherein the one or
more policies comprise a
limit on units of value that
can be used to
communicate with the
remote computing device,
wherein the decision
denies the request when
communicating with the
remote computing device
causes the limit to be
exceeded.

• Time usage limits are
  configured by
  administrators and
  stored on Qustodio’s
  remote servers via a
  web dashboard
  interface.


                                                                Source: Qustodio User Guide (June 2017) at p. 81

                               Claim 3 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                               the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                               differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                               function in substantially the same way to achieve substantially the same result as recited in this claim element.

            27                                                   Exhibit B – S.P.R. 2.1 Infringement Contentions
              Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 83 of 225 Page ID
                                                 #:3785




        '559 Patent
          Claim 3
The non-transitory
computer readable
storage medium of Claim
1, wherein the one or
more policies comprise a
limit on units of value that
can be used to
communicate with the
remote computing device,
wherein the decision
denies the request when
communicating with the
remote computing device
causes the limit to be
exceeded.

• The Qustodio
  Products denies
  usage requests that
  would cause a time
  usage limit to be
  exceeded and                               Source: https://apps.apple.com/us/app/qustodio-parental-control/id990229433?ls=1
  displays a block
  screen notification on
  the computing
  device.

                               Claim 3 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                               the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                               differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                               function in substantially the same way to achieve substantially the same result as recited in this claim element.

            28                                                   Exhibit B – S.P.R. 2.1 Infringement Contentions
     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 84 of 225 Page ID
                                        #:3786




'559 Patent
 Claim 5




The non-transitory computer readable storage medium of Claim 1, wherein
the communication comprises one or more of voice calling, messaging, data
surfing, gaming, content accessing, goods purchasing, and service
purchasing.




                       Exhibit B - S.P.R. 2.1 Infringement Contentions
    29
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 85 of 225 Page ID
                                               #:3787




       '559 Patent
        Claim 5
The non-transitory
computer readable
storage medium of Claim
1, wherein the
communication comprises
one or more of voice
calling, messaging, data
surfing, gaming, content
accessing, goods
purchasing, and service
purchasing.

• Time usage limits set
  daily limits on the
  amount of time the
  computing device
  may be used,
  including the amount
  of time it may be
  used to “access the
  internet.”



                                                            Source: Qustodio User Guide (June 2017) at p. 81

                           Claim 5 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                           the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                           differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                           function in substantially the same way to achieve substantially the same result as recited in this claim element.


           30                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 86 of 225 Page ID
                                        #:3788




'559 Patent
 Claim 6




The non-transitory computer readable storage medium of Claim 1, wherein
the one or more policies comprise one or more of a time-based policy, a
location-based policy, and quality of service-based policy.




                       Exhibit B - S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 87 of 225 Page ID
                                                #:3789




       '559 Patent
         Claim 6
The non-transitory
computer readable
storage medium of Claim
1, wherein the one or
more policies comprise
one or more of a time-
based policy, a location-
based policy, and quality
of service-based policy.



• Time usage limits are
  time-based policies
  that set daily limits
  on the amount of
  time the computing
  device may be used,
  including the amount
  of time it may be
  used to “access the
  internet.”


                                                             Source: Qustodio User Guide (June 2017) at p. 81

                            Claim 6 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                            the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                            differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                            function in substantially the same way to achieve substantially the same result as recited in this claim element.


            32                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 88 of 225 Page ID
                                                #:3790




       '559 Patent
         Claim 6
The non-transitory
computer readable
storage medium of Claim
1, wherein the one or
more policies comprise
one or more of a time-
based policy, a location-
based policy, and quality
of service-based policy.



• Screen Time Controls
  are time-based
  policies that set daily
  limits on the amount
  of time the
  computing device
  may be used,
  including the amount
  of time it may be
  used to “access the                   Source: https://apps.apple.com/us/app/qustodio-parental-control/id990229433?ls=1
  internet.”



                            Claim 6 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                            the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                            differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                            function in substantially the same way to achieve substantially the same result as recited in this claim element.


            33                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 89 of 225 Page ID
                                        #:3791




'559 Patent
 Claim 11




The non-transitory computer readable storage medium of Claim 1, wherein
the one or more policies control content that can be sent, received, or used
by the computing device.




                       Exhibit B - S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 90 of 225 Page ID
                                                #:3792




       '559 Patent
         Claim 11
The non-transitory
computer readable
storage medium of Claim
1, wherein the one or
more policies control
content that can be sent,
received, or used by the
computing device.




• The Qustodio
  Products apply
  policies limiting at
  least when and what
  content (Internet
  websites /
  applications, e.g.)
  may be received or
  used by the
  computing device.
                                                            Source: Qustodio User Guide (June 2017) at pp. 78

                            Claim 11 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                            under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                            such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                            same function in substantially the same way to achieve substantially the same result as recited in this claim element.


            35                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 91 of 225 Page ID
                                                #:3793




       '559 Patent
         Claim 11
The non-transitory
computer readable
storage medium of Claim
1, wherein the one or
more policies control
content that can be sent,
received, or used by the
computing device.




• The Qustodio
  Products apply
  policies limiting at
  least when and what
  content (Internet
  websites /
  applications, e.g.)                        SSource:
                                              Sour
                                              So
                                               our
                                                 urc
                                                  rce
                                                   ce: https://apps.apple.com/us/app/qustodio-parental-control/id990229433?ls=1
                                                   ce: htt
                                                        ttps
                                                        ttps
                                                           ps:/
                                                             ://
                                                              //a
                                                                /app
                                                                /app
                                                                  pps.apple.com/us/app/qustodio-parental-control/id990229433?ls=1
                                                                  pps
  may be received or
                                         Source: https://apps.apple.com/us/app/qustodio-parental-control/id990229433?ls=1
  used by the
  computing device.

                            Claim 11 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                            under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                            such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                            same function in substantially the same way to achieve substantially the same result as recited in this claim element.


            36                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 92 of 225 Page ID
                                        #:3794




'559 Patent
 Claim 12




The non-transitory computer readable storage medium of Claim 1 further
comprising instructions that, when executed on the computing device, cause
the computing device to receive a notification when the response denies the
request.




                       Exhibit B - S.P.R. 2.1 Infringement Contentions
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            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 93 of 225 Page ID
                                               #:3795




       '559 Patent
        Claim 12
The non-transitory
computer readable
storage medium of Claim 1
further comprising
instructions that, when
executed on the
computing device, cause
the computing device to
receive a notification
when the response denies
the request.




• The Qustodio
  Products either
  permit requested
  usage or block via
  application of rules.
• Disallowed requests
  result in a “blocked”                  Source: https://apps.apple.com/us/app/qustodio-parental-control/id990229433?ls=1
  to “time’s up” screen
  on the computing
  device.

                            Claim 12 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                            under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                            such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                            same function in substantially the same way to achieve substantially the same result as recited in this claim element.


           38                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 94 of 225 Page ID
                                        #:3796




'559 Patent
 Claim 13



[Preamble] A computing device configured to execute a function using a communication
network managed by a service provider, the computing device comprising a memory bearing
instructions that, when executed on a computing device, cause the computing device to at least:

[Element A] process a request to run a function on the computing device, the function
comprising enabling a current communication with a remote computing device over the
communication network;

[Element B] access a decision stored on the computing device, the decision having been
received from a server and being based on a policy that is stored at the server and that
determines whether the function is permitted to run on the computing device, the
determination being based on a previous communication with the computing device, the policy
being managed by an administrator;

[Element C] receive from the server an update to the decision;

[Element D] determine whether the request is granted or denied based on the decision and the
update; and

[Element E] enable or disable the communication with the remote computing device over the
communication network based on the determination.

                         Exhibit B – S.P.R. 2.1 Infringement Contentions
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            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 95 of 225 Page ID
                                               #:3797




       '559 Patent
  Claim 13 – Preamble1
A computing device
configured to execute a
function using a
communication network
managed by a service
provider, the computing
device comprising a
memory bearing
instructions that, when
executed on a computing
device, cause the
computing device to at
least:


• Qustodio provides
  the Qustodio for
  Family application for
  controlling use of
  computing devices,
  including mobile
  phones which
  operate on cellular
  networks managed
  by cellular service
  providers, via
  enforcement of rules
  configurable by an                                            Source: Qustodio User Guide (June 2017) at p. 3
  administrator.           1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                           a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                           infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

           40                                             Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 96 of 225 Page ID
                                               #:3798




       '559 Patent
  Claim 13 – Preamble1
A computing device
configured to execute a
function using a
communication network
managed by a service
provider, the computing
device comprising a
memory bearing
instructions that, when
executed on a computing
device, cause the
computing device to at
least:


• The Qustodio
  Products operate to
  control use of
  Android smartphones
  and tablets, and
  other computing
  devices which
  operate on cellular
  and/or Internet
                                                          Source: https://www.qustodio.com/en/family/how-it-works/
  networks managed
  by cellular and
  internet service
  providers,
  respectively.           1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                          a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                          infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

           41                                            Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 97 of 225 Page ID
                                                #:3799




       '559 Patent
  Claim 13 – Preamble1
A computing device
configured to execute a
function using a
communication network
managed by a service
provider, the computing
device comprising a
memory bearing
instructions that, when
executed on a computing
device, cause the
computing device to at
least:


• The Qustodio
  Products require
  installation of a local
  agent (mobile
  application) in the
  memory of each
  device to be
  controlled.
• The local agent
  comprises executable
  instructions for
  controlling operation
                                                          Source: Qustodio User Guide (June 2017) at p. 8
  of the device to
                            1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
  perform functions.
                            a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                            infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

           42                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 98 of 225 Page ID
                                                #:3800




       '559 Patent
  Claim 13 – Preamble1
A computing device
configured to execute a
function using a
communication network
managed by a service
provider, the computing
device comprising a
memory bearing
instructions that, when
executed on a computing
device, cause the
computing device to at
least:


• The Qustodio
  Products require
  installation of a local
  agent (mobile
  application) in the
  memory of each
  device to be
  controlled.
• Execution of the
  “local agent” controls
  operation of the
                                                             Source: Qustodio User Guide (June 2017) at pp. 27, 30-32
  computing device to
  run features /
                            1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
  functions of the
                            a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
  device.                   infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

           43                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 99 of 225 Page ID
                                                #:3801




       '559 Patent
  Claim 13 – Preamble1
A computing device
configured to execute a
function using a
communication network
managed by a service
provider, the computing
device comprising a
memory bearing
instructions that, when
executed on a computing
device, cause the
computing device to at
least:


• The Qustodio
  Products require
  installation of a local
  agent (mobile
  application) in the
  memory of each
  device to be
  controlled.
• Execution of the
  “local agent” controls
  operation of the
  computing device to                                           Source: https://www.qustodio.com/en/family/premium/
  run features /
                            1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
  functions of the
                            a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
  device.                   infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

           44                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 100 of 225 Page ID
                                                #:3802




       '559 Patent
  Claim 13 – Element A
process a request to run a
function on the computing
device, the function
comprising enabling a
current communication
with a remote computing
device over the
communication network;




• The local agent of the
  Qustodio Products
  impacts how the
  device processes
  requests to use
  functions of the
  device, including
  communication with
  other phones (calls
  and messaging),
  computers (accessing
  content), servers
                                                    Source:
  (download and play                                https://play.google.com/store/apps/details?id=com.qustodio.q
  games and apps), and                              ustodioapp&rdid=com.qustodio.qustodioapp&pli=1
  the like.                  Claim 13, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           45                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 101 of 225 Page ID
                                                #:3803




       '559 Patent
  Claim 13 – Element A
process a request to run a
function on the computing
device, the function
comprising enabling a
current communication
with a remote computing
device over the
communication network;




• The local agent of the
  Qustodio Products
  impacts how the
  device processes
  requests to use
  functions of the
  device, including
  communication with
  other phones (calls
  and messaging),
  computers (accessing
  content), servers
  (download and play
  games and apps), and                                      Source: Qustodio User Guide (June 2017) at p. 78
  the like.                  Claim 13, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           46                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 102 of 225 Page ID
                                                #:3804




       '559 Patent
  Claim 13 – Element A
process a request to run a
function on the computing
device, the function
comprising enabling a
current communication
with a remote computing
device over the
communication network;




• Execution of the local
  agent software
  causes time usage
  limits to be applied in
  response to device
  usage requests to
  allow or block usage,
  such as connecting to
  the Internet, among
  others.
• The request is
  enabled if the
  applicable usage
  limits have not been                                      Source: Qustodio User Guide (June 2017) at p. 81
  exceeded.                  Claim 13, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           47                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 103 of 225 Page ID
                                                #:3805




       '559 Patent
  Claim 13 – Element A
process a request to run a
function on the computing
device, the function
comprising enabling a
current communication
with a remote computing
device over the
communication network;




• Execution of the local
  agent software
  causes Applications
  Rules to be applied in
  response to device
  usage requests to
  allow or block usage,
  such as accessing
  applications, among
  others.
• The request is
  enabled if the
  applicable
  Applications Rules                                        Source: Qustodio User Guide (June 2017) at p. 82
  are not violated by        Claim 13, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
  the requested use.         present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           48                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 104 of 225 Page ID
                                                #:3806




       '559 Patent
  Claim 13 – Element A
process a request to run a
function on the computing
device, the function
comprising enabling a
current communication
with a remote computing
device over the
communication network;




• Execution of the local
  agent software
  causes Blocking Rules
  to be applied in
  response to device
  usage requests to
  allow or block calls
  and text messages.
• The request is
  enabled if the
  applicable Blocking
  Rules are not violated
  by the requested use.
                                                            Source: Qustodio User Guide (June 2017) at p. 83
                             Claim 13, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           49                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 105 of 225 Page ID
                                                #:3807




       '559 Patent
  Claim 13 – Element A
process a request to run a
function on the computing
device, the function
comprising enabling a
current communication
with a remote computing
device over the
communication network;




                             Claim 13, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           50                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 106 of 225 Page ID
                                                 #:3808




        '559 Patent
   Claim 13 – Element B
access a decision stored
on the computing device,
the decision having been
received from a server and
being based on a policy
that is stored at the server
and that determines
whether the function is
permitted to run on the
computing device, the
determination being
based on a previous
communication with the
computing device, the
policy being managed by
an administrator;




                               Claim 13, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                               present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                               element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                               substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            51                                                 Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 107 of 225 Page ID
                                                 #:3809




        '559 Patent
   Claim 13 – Element B
access a decision stored
on the computing device,
the decision having been
received from a server and
being based on a policy
that is stored at the server
and that determines
whether the function is
permitted to run on the
computing device, the
determination being
based on a previous
communication with the
computing device, the
policy being managed by
an administrator;

• Policies set and
  stored at Qustodio
  servers determine
  which functions of
  the computing device
  are subject to
  control.
• Policies set and
  stored at the
  Qustodio servers                                            Source: Qustodio User Guide (June 2017) at p. 78
                               Claim 13, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
  define when and              present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
  which functions are          element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
  allowed.                     substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            52                                                 Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 108 of 225 Page ID
                                                 #:3810




        '559 Patent
   Claim 13 – Element B
access a decision stored
on the computing device,
the decision having been
received from a server and
being based on a policy
that is stored at the server                                                                                        Source:
and that determines                                                                                                 https://play.google.com/store/apps/d
                                                                                                                    https://play.google.com/store/apps/d
whether the function is                                                                                             etails?id=com
                                                                                                                                m.qustodio.qustodioapp&r
                                                                                                                    etails?id=com.qustodio.qustodioapp&r
permitted to run on the                                                                                             did=com.qustodio.qustodioapp&pli=1
                                                                                                                    did=com.qus stodio.qustodioapp&pli=1
computing device, the
determination being
based on a previous
communication with the
computing device, the
policy being managed by
an administrator;

• Decisions as to
  “whether [the local
  agent] has to monitor
  particular user
  activity” are based on
  rules set and stored
  on Qustodio’s servers
  by parents,                  Source:
  businesses, and              https://play.google.com/store/apps/d
  school                       etails?id=com.qustodio.professional
  administrators.              Claim 13, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                               present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                               element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                               substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            53                                                 Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 109 of 225 Page ID
                                                #:3811




       '559 Patent
  Claim 13 – Element C
receive from the server an
update to the decision;




                             Claim 13, Element C- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           54                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 110 of 225 Page ID
                                                #:3812




       '559 Patent
  Claim 13 – Element D
determine whether the
request is granted or
denied based on the
decision and the update;
and




                           Claim 13, Element D - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                           present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                           element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                           substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           55                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 111 of 225 Page ID
                                                #:3813




       '559 Patent
  Claim 13 – Element D
determine whether the
request is granted or
denied based on the
decision and the update;
and




                           Claim 13, Element D - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                           present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                           element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                           substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           56                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
           Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 112 of 225 Page ID
                                               #:3814




       '559 Patent
  Claim 13 – Element E
enable or disable the
communication with the
remote computing device
over the communication
network based on the
determination.

• Enforcement entails
  blocking the
  requested
  communication when
  it violates a usage
  policy or allowing the
  communication
  otherwise.




                                                                  Source: https://www.qustodio.com/en/family/how-it-works/

                           Claim 13, Element E - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                           present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                           element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                           substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           57                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
           Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 113 of 225 Page ID
                                               #:3815




       '559 Patent
  Claim 13 – Element E
enable or disable the
communication with the
remote computing device
over the communication
network based on the
determination.

• Enforcement entails
  blocking the
  requested
  communication when
  it violates a usage
  policy or allowing the
  communication
  otherwise.




                                                                  Source: https://www.qustodio.com/en/family/how-it-works/

                           Claim 13, Element E - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                           present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                           element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                           substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           58                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
           Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 114 of 225 Page ID
                                               #:3816




       '559 Patent
  Claim 13 – Element E
enable or disable the
communication with the
remote computing device
over the communication
network based on the
determination.




                          Claim 13, Element E - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                          present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                          element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                          substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           59                                             Exhibit B – S.P.R. 2.1 Infringement Contentions
    Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 115 of 225 Page ID
                                        #:3817




'559 Patent
 Claim 14




The computing device of Claim 13, wherein the policy establishes a
prohibition on content that can be sent, received, or used.




                       Exhibit B - S.P.R. 2.1 Infringement Contentions
    60
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 116 of 225 Page ID
                                                 #:3818




        '559 Patent
         Claim 14
The computing device of
Claim 13, wherein the
policy establishes a
prohibition on content
that can be sent, received,
or used.




• The Qustodio
  Products apply
  policies that prohibit
  sending, receiving, or
  using content based
  on time usage limits,
  application rules, and
  call and messaging
  contact lists, among
  others.


                                                            Source: Qustodio User Guide (June 2017) at p. 78
                              Claim 14 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                              under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                              such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                              same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            61                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
    Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 117 of 225 Page ID
                                        #:3819




'559 Patent
 Claim 15




The computing device of Claim 13, wherein the policy establishes a quantity
limit on content that can be sent, received or used in a given period of time.




                       Exhibit B - S.P.R. 2.1 Infringement Contentions
    62
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 118 of 225 Page ID
                                                 #:3820




        '559 Patent
         Claim 15
The computing device of
Claim 13, wherein the
policy establishes a
quantity limit on content
that can be sent, received
or used in a given period
of time.

• Time usage rules,
  among others applied
  by the Qustodio
  Products, establish
  quantity limits on
  sending, receiving,
  and using content
  within a specified
  period, such as
  through application
  of daily screen time
  limits.




                                                           Source: Qustodio User Guide (June 2017) at p. 95
                             Claim 15 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                             under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                             such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                             same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            63                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 119 of 225 Page ID
                                                 #:3821




        '559 Patent
         Claim 15
The computing device of
Claim 13, wherein the
policy establishes a
quantity limit on content
that can be sent, received
or used in a given period
of time.

• Time usage rules,
  among others applied
  by the Qustodio
  Products, establish
  quantity limits on
  sending, receiving,
  and using content
  within a specified
  period, such as
  through application
  of daily screen time
  limits.




                                                           Source: Qustodio User Guide (June 2017) at p. 81
                             Claim 15 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                             under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                             such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                             same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            64                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
    Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 120 of 225 Page ID
                                        #:3822




'559 Patent
 Claim 16




The computing device of Claim 13, wherein the policy establishes a limit on
how many units of value can be spent by the user on content that can be
sent, received, or used in a given period of time.




                       Exhibit B - S.P.R. 2.1 Infringement Contentions
    65
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 121 of 225 Page ID
                                                 #:3823




        '559 Patent
         Claim 16
The computing device of
Claim 13, wherein the
policy establishes a limit
on how many units of
value can be spent by the
user on content that can
be sent, received, or used
in a given period of time.




• Time usage rules,
  among others applied
  by the Qustodio
  Products, establish
  limits on the minutes
  available in a day for
  sending, receiving,
  and using content.




                                                           Source: Qustodio User Guide (June 2017) at p. 95
                             Claim 16 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                             under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                             such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                             same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            66                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 122 of 225 Page ID
                                                 #:3824




        '559 Patent
         Claim 16
The computing device of
Claim 13, wherein the
policy establishes a limit
on how many units of
value can be spent by the
user on content that can
be sent, received, or used
in a given period of time.




• Time usage rules,
  among others applied
  by the Qustodio
  Products, establish
  limits on the minutes
  available in a day for
  sending, receiving,
  and using content.




                                                           Source: Qustodio User Guide (June 2017) at p. 81
                             Claim 16 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                             under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                             such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                             same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            67                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
    Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 123 of 225 Page ID
                                        #:3825




'559 Patent
 Claim 17




The computing device of Claim 16, wherein the instructions, when executed
on the computing device, further cause the computing device to notify the
administrator, a user of the computing device, or both the administrator and
the user when the limit on how many units of value can be spent by the user
has been reached.




                       Exhibit B - S.P.R. 2.1 Infringement Contentions
    68
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 124 of 225 Page ID
                                                #:3826




       '559 Patent
        Claim 17
The computing device of
Claim 16, wherein the
instructions, when
executed on the
computing device, further
cause the computing
device to notify the
administrator, a user of
the computing device, or
both the administrator
and the user when the
limit on how many units
of value can be spent by
the user has been
reached.

• The Qustodio
  Products cause the
  computing device to
  display a notification
  to the user when a
  time limit has been
  reached.


                                                                  Source: https://www.qustodio.com/en/family/how-it-works/

                            Claim 17 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                            under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                            such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                            same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           69                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 125 of 225 Page ID
                                         #:3827




'559 Patentt
 Claim 27



[Preamble] A method for controlling a computing device configured to execute a
function using a communication network managed by a service provider, the method
comprising:

[Element A] sending to a server a request to communicate with a remote computing
device over the communication network;

[Element B] receiving in real-time from the server a decision granting or denying the
request, the decision based on a policy stored at the server and configured by an
administrator; and

[Element C] enforcing the decision by enabling a communication with the remote
computing device over the communication network when the decision grants the
request and by disabling the communication when the decision denies the request,
the communication being enabled or disabled without storing the policy on the
computing device.




                       Exhibit B – S.P.R. 2.1 Infringement Contentions
    70
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 126 of 225 Page ID
                                                #:3828




       '559 Patent
  Claim 27 – Preamble1
A method for controlling a
computing device
configured to execute a
function using a
communication network
managed by a service
provider, the method
comprising:




• Qustodio provides
  “the Qustodio
  application” which
  “provides multiple
  layers of protection
  and control” of
  computing devices in
  connection with each
  of the Qustodio
  Products .
• The application is
  usable “at home, at
  school, at work, or
  anywhere else” for
                                                                 Source: Qustodio User Guide (June 2017) at p. 3
  “everything users do
  online or offline.”        1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                             a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

           71                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 127 of 225 Page ID
                                                #:3829




       '559 Patentt
  Claim 27 – Preamble1
A method for controlling a
computing device
configured to execute a
function using a
communication network
managed by a service
provider, the method
comprising:




• The
    h Qustodio
             d
  Products operate to
  control use of
  iPhones, iPads, and
  other computing
  devices which
  operate on cellular
  and/or Internet
  networks managed
  by cellular and
  internet service
  providers,
  respectively.
     p        y
                                                           Source: https://www.qustodio.com/en/family/how-it-works/
                             1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                             a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.



           72                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 128 of 225 Page ID
                                                #:3830




       '559 Patentt
  Claim 27 – Preamble1
A method for controlling a
computing device
configured to execute a
function using a
communication network
managed by a service
provider, the method
comprising:




• The
   h Qustodiod
  Products effect
  control of computingg
  devices through
  application of rules
  defining when and
  what features and
  content are
  accessible on the
  controlled device(s).
                    ()
                                                             Source: https://www.qustodio.com/en/family/how-it-works/

                             1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                             a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.




           73                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 129 of 225 Page ID
                                                #:3831




       '559 Patentt
  Claim 27 – Preamble1
A method for controlling a
computing device
configured to execute a
function using a
communication network
managed by a service
provider, the method
comprising:




• The
    h Qustodiod
  Products
  acco
  accommodate
            odate
  selectively permittingg
  or blocking access to
  device features, such
  as Internet content,
  calls, texts, contacts,
  and applications.
• Time based policies
  are applied to limit                                              Source: Qustodio User Guide (June 2017) at p. 4
  access to device
  features in                1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
  accordance with dailyy     a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.
  time limits or usage
  schedules.


           74                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 130 of 225 Page ID
                                                #:3832




       '559 Patentt
  Claim 27 – Preamble1
A method for controlling a
computing device
configured to execute a
function using a
communication network
managed by a service
provider, the method
comprising:




• The
    h Qustodiod
  Products
  acco
  accommodate
            odate
  selectively permittingg
  or blocking access to
  device features, such
  as Internet content,
  calls, texts, contacts,
  and applications.
• Time based policies
  are applied to limit                                              Source: https://www.qustodio.com/en/family/premium/
  access to device
  features in                1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
  accordance with dailyy     a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.
  time limits or usage
  schedules.


           75                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 131 of 225 Page ID
                                                #:3833




       '559 Patentt
  Claim 27 – Element A
sending to a server a
request to communicate
with a remote computing
device over the
communication network;




• Th
  The
   h Qustodio
      Q      d
             di
  Products require
  download of a local
  agent on the
  controlled device(s)
  which routes all
  usage requests
  through one or more
  Qustodio servers.
• Qustodio’s servers
  host its user interfacee
  dashboard from
                                                    Source: https://www.qustodio.com/en/family/how-it-works/
  which administrators
  can see all monitored      Claim 27, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
  devices and usage          present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
  and set rules.             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


           76                                                Exhibit B – S.P.R. 2.1 Infringement Contentionss
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 132 of 225 Page ID
                                                #:3834




       '559 Patentt
  Claim 27 – Element A
sending to a server a
request to communicate
with a remote computing
device over the
communication network;




• Th
  The
   h Qustodio
       Q     di
             d
  Products require
  download of a local
  agent on the
  controlled device(s)
  which routes all
  usage requests
  through one or more
  Qustodio servers.
• The local agent
  comprises executablee
  instructions for
  controlling operation                                        Source: Qustodio User Guide (June 2017) at p. 8
  of the device to        Claim 27, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
  p erform functions.
  perform                 present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                          element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                          substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


           77                                             Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 133 of 225 Page ID
                                                #:3835




       '559 Patentt
  Claim 27 – Element A
sending to a server a
request to communicate
with a remote computing
device over the
communication network;




• Qustodio’s
          io’s required
          io’    quir
  access and
    ermissions cause all
  permissions
   cctions taken and
  actions
   ontent viewed on a
   o
  content
  m  anaged device to
  managed
  bee routed through
    ne or more servers
    n
  one
  off Qustodio.



                                                           Source: Qustodio User Guide (June 2017) at p. 33

                           Claim 27, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                           present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                           element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                           substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


           78                                              Exhibit B – S.P.R. 2.1 Infringement Contentionss
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 134 of 225 Page ID
                                                #:3836




       '559 Patentt
  Claim 27 – Element A
sending to a server a
request to communicate
with a remote computing
device over the
communication network;




• Qustodio’s
          io’s required
          io’    quir
  access and
    ermissions cause all
  permissions
   cctions taken and
  actions
   ontent viewed on a
   o
  content
  m  anaged device to
  managed
  bee routed through
    ne or more servers
    n
  one
  off Qustodio.


                                                            Source: Qustodio User Guide (June 2017) at pp. 27, 30-32


                           Claim 27, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                           present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                           element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                           substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


           79                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 135 of 225 Page ID
                                                #:3837




       '559 Patent
  Claim 27 – Element A
sending to a server a
request to communicate
with a remote computing
device over the
communication network;




• The Qustodio
  Products require
  installation of a local
  agent (mobile
  application) in the
  memory of each
  device to be
  controlled.
• Execution of the
  “local agent” on a
  controlled device
  “allows Qustodio to
                                                           Source: Qustodio User Guide (June 2017) at p. 46
  supervise this
  device.”                  Claim 27, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            80                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
           Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 136 of 225 Page ID
                                               #:3838




       '559 Patent
  Claim 27 – Element A
sending to a server a
request to communicate
with a remote computing
device over the
communication network;

• The local agent of the
  Qustodio Products
  operates under an
  Apple Mobile Device
  Management
  (“MDM”) Certificate.
• The local agent
  causes requests to
  communicate with
  remote computing
  devices to be sent to
  Qustodio’s MDM
  server for application
  of usage policies
  controlling at least
  the use of
  applications, games,
  internet connectivity,
  among other uses to                                     Source: Qustodio User Guide (June 2017) at p. 46-47
  effect screen time       Claim 27, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
  control on iOS           present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                           element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
  devices.                 substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           81                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
           Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 137 of 225 Page ID
                                               #:3839




       '559 Patent
  Claim 27 – Element A
sending to a server a
request to communicate
with a remote computing
device over the
communication network;

• The local agent of the
  Qustodio Products
  operates under an
  Apple Mobile Device
  Management
  (“MDM”) Certificate.
• The local agent
  causes requests to
  communicate with
  remote computing
  devices to be sent to
  Qustodio’s MDM
  server for application
  of usage policies
  controlling at least
  the use of
  applications, games,
  internet connectivity,
  among other uses to                          https://www.apple.com/newsroom/2019/04/the-facts-about-parental-control-apps/
                                       Source: https://www.apple.com/newsroom/2019/04/the-facts
                                                                                         -     -about-parental-control-apps/
  effect screen time       Claim 27, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
  control on iOS           present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                           element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
  devices.                 substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           82                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
           Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 138 of 225 Page ID
                                               #:3840




       '559 Patent
  Claim 27 – Element A
sending to a server a
request to communicate
with a remote computing
device over the
communication network;




• The local agent of the
  Qustodio Products
  applies MDM
  protocol to obtain
  “control and access
  over a device.”
• MDM protocol
  “allows for OS level
  control of multiple
  devices from a
  centralized location.”
                                         Source: https://www.apple.com/newsroom/2019/04/the-facts
                                                 https://www.apple.com/newsroom/2019/04/the-facts-about-parental-control-apps/
                                                                                           -     -about-parental-control-apps/

                           Claim 27, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                           present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                           element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                           substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           83                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
           Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 139 of 225 Page ID
                                               #:3841




       '559 Patent
  Claim 27 – Element A
sending to a server a
request to communicate
with a remote computing
device over the
communication network;




• The local agent of the
  Qustodio Products
  applies MDM
  protocol to force the
  controlled device to
  interact with an
  MDM server to
  “exchange commands
  and responses” to
  control use of the
  device and its
  features/functions.
                                         Source: https://medium.com/swlh/mobile-device-management-mdm-for
                                                                                                     - -ios-60448313dafb
                                                 https://medium.com/swlh/mobile-device-management-mdm-for-ios-60448313dafb
                           Claim 27, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                           present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                           element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                           substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           84                                              Exhibit B – S.P.R. 2.1 Infringement Contentions
           Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 140 of 225 Page ID
                                               #:3842




       '559 Patent
  Claim 27 – Element A
sending to a server a
request to communicate
with a remote computing
device over the
communication network;




                          Claim 27, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                          present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                          element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                          substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

           85                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 141 of 225 Page ID
                                                 #:3843




        '559 Patentt
  Claim 27 – Element B
receiving in real-time from
the server a decision
granting or denying the
request, the decision
based on a policy stored
at the server and
configured by an
administrator; and




• Th
  The
    h Qustodio
      Q       di
              d
  Products either
  permit requested
  usage or block it in
  accordance with the
  decision received
  from a network
  server making policy
  decisions.
• Disallowed requests
  result in a “block
  screen” on the
                                                                 Source: https://www.qustodio.com/en/family/how-it-works/
        g device.
  managed

                              Claim 27, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                              present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                              element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                              substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            86                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 142 of 225 Page ID
                                                 #:3844




        '559 Patentt
  Claim 27 – Element B
receiving in real-time from
the server a decision
granting or denying the
request, the decision
based on a policy stored
at the server and
configured by an
administrator; and




• Th
  The
    h Qustodio
      Q       d
              di
  Products either
  permit requested
  usage or block it in
  accordance with the
  decision received
  from a network
  server making policy
  decisions.
• Disallowed requests
  result in a “block
  screen” on the
                                                                 Source: https://www.qustodio.com/en/family/how-it-works/
  managed
        g device.

                              Claim 27, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                              present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                              element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                              substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            87                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 143 of 225 Page ID
                                                 #:3845




        '559 Patentt
  Claim 27 – Element B
receiving in real-time from
the server a decision
granting or denying the
request, the decision
based on a policy stored
at the server and
configured by an
administrator; and




• Rules
  Rules, such as time
  usage limits and
  u
  aapplication rules are
   cconfigured by
     a
     administrators  (i.e.,
    parents, teachers,
    business owners) via
    a web dashboard
    iinterface. and stored
     on Qustodio’s remotee
     o
     servers.

                                                              Source: Qustodio User Guide (June 2017) at p. 81


                              Claim 27, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                              present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                              element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                              substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            88                                               Exhibit B – S.P.R. 2.1 Infringement Contentionss
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 144 of 225 Page ID
                                                 #:3846




        '559 Patentt
  Claim 27 – Element B
receiving in real-time from
the server a decision
granting or denying the
request, the decision
based on a policy stored
at the server and
configured by an
administrator; and




• Rules
  Rules, such as time
  usage limits and
  u
  aapplication rules are
   cconfigured by
     a
     administrators  (i.e.,
    parents, teachers,
    business owners) via
    a web dashboard
    iinterface. and stored
     on Qustodio’s remotee
     o
     servers.
                                                              Source: Qustodio User Guide (June 2017) at pp. 72



                              Claim 27, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                              present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                              element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                              substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            89                                               Exhibit B – S.P.R. 2.1 Infringement Contentionss
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 145 of 225 Page ID
                                                 #:3847




        '559 Patent
  Claim 27 – Element B
receiving in real-time from
the server a decision
granting or denying the
request, the decision
based on a policy stored
at the server and
configured by an
administrator; and




• Rules, such as time
  usage limits and
  application rules are
  configured by
  administrators (i.e.,
  parents, teachers,
  business owners) via
  a web dashboard
  interface. and stored
  on Qustodio’s remote
  servers.

                                                              Source: Qustodio User Guide (June 2017) at p. 75


                              Claim 27, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                              present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                              element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                              substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            90                                               Exhibit B – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 146 of 225 Page ID
                                                 #:3848




        '559 Patent
  Claim 27 – Element B
receiving in real-time from
the server a decision
granting or denying the
request, the decision
based on a policy stored
at the server and
configured by an
administrator; and




                              Claim 27, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                              present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                              element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                              substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            91                                                 Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 147 of 225 Page ID
                                                #:3849




       '559 Patentt
  Claim 27 – Element C
enforcing the decision by
enabling a communication
with the remote
computing device over the
communication network
when the decision grants
the request and by
disabling the
communication when the
decision denies the
request, the
communication being
enabled or disabled
without storing the policy
on the computing device.
• Th
  The
   h Qustodio
      Q       di
              d
  Products either
  permit requested
  usage or block it in
  accordance with the
  application of profilee
  rules.
• Decisions are logged
  on Qustodio servers..
                                                                 Source: https://www.qustodio.com/en/family/how-it-works/
• Disallowed requests
                             Claim 27, Element C- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
  result in a “block         present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
  screen” on the             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
  managedg device.           substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.



           92                                                  Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 148 of 225 Page ID
                                                #:3850




       '559 Patentt
  Claim 27 – Element C
enforcing the decision by
enabling a communication
with the remote
computing device over the
communication network
when the decision grants
the request and by
disabling the
communication when the
decision denies the
request, the
communication being
enabled or disabled
without storing the policy
on the computing device.
• Qustodio either
  permits requested
  usage or blocks it in
  accordance with the
  application of profile
  rules.
• Decisions are logged
  on Qustodio servers.
• Disallowed requests                                            Source: https://www.qustodio.com/en/family/how-it-works/
  result in a “block
  screen” on the             Claim 27, Element C- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
  managed device.            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.



           93                                                  Exhibit B – S.P.R. 2.1 Infringement Contentions
                                                                                                            nss
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 149 of 225 Page ID
                                                 #:3851




       '559 Patent
  Claim 27 – Element C
… the communication
being enabled or disabled
without storing the policy
on the computing device.




                             Claim 27, Element C- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


            94                                                Exhibit B – S.P.R. 2.1 Infringement Contentions
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 150 of 225 Page ID
                                                #:3852




       '559 Patent
  Claim 27 – Element C
enforcing the decision by
enabling a communication
with the remote
computing device over the
communication network
when the decision grants
the request and by
disabling the
communication when the
decision denies the
request, the
communication being
enabled or disabled
without storing the policy
on the computing device.




           95                             Exhibit B – S.P.R. 2.1 Infringement Contentions
     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 151 of 225 Page ID
                                         #:3853




'559 Patentt
 Claim 28




[Preamble] The computing device of Claim 27,

[Element A] wherein the decision that denies the request is further
indicative of terminating the request, redirecting the request, or degrading
the request.




                        Exhibit B - S.P.R. 2.1 Infringement Contentions
    96
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 152 of 225 Page ID
                                                 #:3854




        '559 Patentt
         Claim 28
The
 he computing device of
Claim
  llaim 27, wherein the
decision
   ecision that denies the
   e
request
 equest is further
 e
indicative
 ndicative of terminating
the
 he request, redirecting
 h
the
 he request, or degrading
the
 he request.




• Disallowed
    sallowed requests
                  q sts
    sult in a ““block
  result
    reen” on the
  screen”
    anaged device.
  managed    d




                                                               Source: https://www.qustodio.com/en/family/how-it-works/
                             Claim 28 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                             under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                             such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                             same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                            Exhibit B - S.P.R. 2.1 Infringement Contentions
            97
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 153 of 225 Page ID
                                                 #:3855




        '559 Patentt
         Claim 28
The
 he computing device of
Claim
  llaim 27, wherein the
decision
   ecision that denies the
   e
request
 equest is further
 e
indicative
 ndicative of terminating
the
 he request, redirecting
 h
the
 he request, or degrading
the
 he request.




• Disallowed
    sallowed requests
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  result
    reen” on the
  screen”
    anaged device.
  managed    d




                                                               Source: https://www.qustodio.com/en/family/how-it-works/
                             Claim 28 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                             under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                             such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                             same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                            Exhibit B - S.P.R. 2.1 Infringement Contentions
            98
     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 154 of 225 Page ID
                                         #:3856




'559 Patentt
 Claim 30




[Preamble] The computing device of Claim 27,

[Element A] further comprising one of decrementing a charge of units of
value from an account associated with the computing device, determining a
balance of units of value in the account, determining a status of the account,
or implementing the request when the decision grants the request.




                        Exhibit B - S.P.R. 2.1 Infringement Contentions
    99
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 155 of 225 Page ID
                                                #:3857




       '559 Patentt
        Claim 30
The computing device of
Claim 27, further
comprising one of
decrementing a charge of
units of value from an
account associated with
the computing device,
determining a balance of
units of value in the
account, determining a
status of the account, or
implementing the request
when the decision grants
the request.

•QQustodio
        di
  accommodates Time
  Usage Limits definingg
  daily maximum time
  allotments and usagee
  scheduling.
• Requests for access
  are blocked once a
  time limit is met.                                              Source: Qustodio User Guide (June 2017) at p. 4


                            Claim 30 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                            under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                            such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                            same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                           Exhibit B - S.P.R. 2.1 Infringement Contentions
           100
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 156 of 225 Page ID
                                                #:3858




       '559 Patentt
        Claim 30
The computing device of
Claim 27, further
comprising one of
decrementing a charge of
units of value from an
account associated with
the computing device,
determining a balance of
units of value in the
account, determining a
status of the account, or
implementing the request
when the decision grants
the request.

•QQustodio
        di
  accommodates Time
  Usage Limits definingg
  daily maximum time
  allotments and usagee
  scheduling.
• Requests for access
  are blocked once a
  time limit is met.
                                                           S
                                                           Source: Qustodio
                                                                   Q t di User
                                                                            U Guide
                                                                               G id (June
                                                                                    (J    2017) att p.
                                                                                                    p 74
                            Claim 30 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                            under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                            such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                            same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                           Exhibit B - S.P.R. 2.1 Infringement Contentions
           101
            Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 157 of 225 Page ID
                                                #:3859




       '559 Patentt
        Claim 30
The computing device of
Claim 27, further
comprising one of
decrementing a charge of
units of value from an
account associated with
the computing device,
determining a balance of
units of value in the
account, determining a
status of the account, or
implementing the request
when the decision grants
the request.

•QQustodio
        di
  accommodates Time
  Usage Limits definingg
  daily maximum time
  allotments and usagee
  scheduling.
• Requests for access
  are blocked once a
  time limit is met.
                                                              Source: https://www.qustodio.com/en/family/how-it-works/
                            Claim 30 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                            under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                            such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                            same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                           Exhibit B - S.P.R. 2.1 Infringement Contentions
           102
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 158 of 225 Page ID
                                                 #:3860

                                                       8/9/2019 11:03:00 AM


                                             Compare Results

                              Old File:                                                      New File:
      Exhibit C (612 Patent)(Qustodio for Family).pdf                         Supplemented Exhibit C (612 Patent).pdf
                                                             versus
                      53 pages (1.31 MB)                                                67 pages (1.90 MB)
                     12/11/2018 5:28:55 PM                                              8/1/2019 1:08:43 PM




                  Total Changes              Content                                        Styling and
                                                                                            Annotations
                                             65
                  83
                                                   Replacements
                                                                                             2   Styling
                                             15    Insertions
                                                                                             0   Annotations
                                             1     Deletion




                                                Go to First Change (page 2)




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Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 159 of 225 Page ID
                                    #:3861




                            EXHIBIT C


                    Kajeet, Inc. v. Qustodio, LLC
             Civil Action No. 8:18-cv-01519-JAK-PLA

                      U.S. Pat. No. 8,630,612
          䇾Feature Management of a Communication Device䇿
                       Claims 1-6, 8, 9, 11, 12

Accused Products: Qustodio for Family – Premium; Qustodio for Schools;
                       Qustodio for Business

                  Exhibit C – S.P.R. 2.1 Infringement Contentions
          Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 160 of 225 Page ID
                                              #:3862




Representative Product
  Accused Products


    Thissupplementalchartisaddressed,collectively,totheQustodioforFamily,QustodioforSchools,
         supplemental chart is addressed, collectively,
                                                      y to the Qustodio for Family,y Qustodio for Schools,
    andQustodioforBusinessproducts(hereinafter,“QustodioProducts”).
    and Qustodio for Business products (hereinafter, r “Qustodio Products”). Theproofsubmittedinthis
                                                                              The proof submitted in this
    claimchartisillustrativeratherthanexhaustiveandisrepresentativeof themannerinwhichthe
    claim chart is illustrative rather than exhaustive and is representative of the  manner in which the
    QustodioProductsinfringeatleasttheclaimsofthe‘612Patentpresentedherein.
    Qustodio Products infringe at least the claims of the ‘612

    TheseinfringementcontentionsandevidenceareapplicabletoeachoftheQustodioProducts.The
                                   and evidence are applicable to each of the Qustodio Products. The
    QustodioProductseachcompriseidenticalinfringingfeaturesandfunctionalitytothoseshownand
    Qustodio Products each comprise identical infringing features and functionality to those shown and
    describedherein.
    described herein.




    PlaintiffisaccusingallversionsandreleasesoftheQustodioProductswhichhavebeenorwillbe
    Plaintiff is accusing all versions and releases of the Qustodio Products which have been or will be
    sold,serviced,orsupportedonorafterMarch4,2014,pursuantto35U.S.C.§271(a)-(c).
    sold, serviced, or supported on or after March 4, 2014, pursuant to 35U.S.C.§271(a)-(c).

    Plaintiff has
    Plaintiff  has relied
                    relied primarily
                            primarily on publicly available
                                       on publicly   available information  and products,
                                                                information and   products, and
                                                                                             and analysis
                                                                                                  analysis derived
                                                                                                             derived
    therefrom, as
    therefrom,    as Qustodio
                      Qustodio has  made only
                                has made     only scant
                                                   scant production
                                                           production of
                                                                        of technical
                                                                           technical documents
                                                                                      documents in  this litigation
                                                                                                  in this  litigation
    thusfar.
    thus    r Plaintiffreservestherighttofurtheramend
          far.  Plaintiff reserves the right to further amend orsupplementthesecontentionsandlisting
                                                                    or supplement these contentions and listing
    of Accused
    of  AccusedProductsbasedupon
                  Products based upon documentsand
                                            documents and other     discovery when
                                                              other discovery          received,aswell
                                                                                when received,            asfuture
                                                                                                 as well as    future
    versionsandreleasesoftheQustodioProducts.
    versions   and releases of the Qustodio Products.


                                 Exhibit C – S.P.R. 2.1 Infringement Contentions
          1
          Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 161 of 225 Page ID
                                              #:3863




Representative Product
  Accused Products




                            Exhibit C – S.P.R. 2.1 Infringement Contentions
          2
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                                              #:3864




Representative Product
  Accused Products




                            Exhibit C – S.P.R. 2.1 Infringement Contentions
          3
     Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 163 of 225 Page ID
                                         #:3865




 '612 Patent
  Claim 1

[Preamble] A system for managing computing devices configured to communicate over one or
more networks serviced by one or more service providers, the system comprising a memory
bearing instructions that, when executed on the system, cause the system to at least:

[Element A] store a policy that controls at least a use of a function on a computing device, the
control comprising allowing and disallowing the use of the function based on a context
associated with the computing device, the policy being defined by an administrator;

[Element B] group one or more computing devices in a group;

[Element C] associate the policy with the group;

[Element D] receive a request sent to or from a computing device in the group to use the
function;

[Element E] generate a decision to grant or deny the request based on the policy; and

[Element F] enforce the decision by taking an action that is consistent with the decision and by
sending to the computing device data indicative of the action, the action allowing or disallowing
the use of the function on the computing device.




                          Exhibit C – S.P.R. 2.1 Infringement Contentions
     4
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 164 of 225 Page ID
                                                 #:3866




        '612 Patent
   Claim 1 – Preamble1
A system for managing
computing devices
configured to
communicate over one or
more networks serviced
by one or more service
providers, the system
comprising a memory
bearing instructions that,
when executed on the
system, cause the system
to at least:

• The Qustodio
  Products manage
  mobile phones,
  among other
  computing devices,
  which operate on
  cellular networks
  managed by cellular
  service providers.
• Rules are stored on                                               Source: Qustodio User Guide (June 2017) at p. 3
  remote Qustodio
  servers and are            1By charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not

  enforced via a local       a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.
  software modules
  stored in memory of
  the device.
                                          Exhibit C – S.P.R. 2.1 Infringement Contentions
            5
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 165 of 225 Page ID
                                                 #:3867




        '612 Patent
   Claim 1 – Preamble1
A system for managing
computing devices
configured to
communicate over one or
more networks serviced
by one or more service
providers, the system
comprising a memory
bearing instructions that,
when executed on the
system, cause the system
to at least:

• The Qustodio
  Products manage
  mobile phones,
  among other
  computing devices,
  which operate on
  cellular networks
  managed by cellular
  service providers.
• Rules are stored on                                        Source: https://www.qustodio.com/en/family/how-it-works/
  remote Qustodio
  servers and are            1By charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not

  enforced via a local       a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.
  software modules
  stored in memory of
  the device.
                                          Exhibit C – S.P.R. 2.1 Infringement Contentions
            6
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 166 of 225 Page ID
                                                 #:3868




        '612 Patent
   Claim 1 – Preamble1
A system for managing
computing devices
configured to
communicate over one or
more networks serviced
by one or more service
providers, the system
comprising a memory
bearing instructions that,
when executed on the
system, cause the system
to at least:

• The Qustodio
  Products selectively
  permit or block
  access to device
  features, such as
  Internet content,
  calls, texts, contacts,
  and applications.
• The Qustodio
  Products apply time-                                              Source: Qustodio User Guide (June 2017) at p. 4
  based policies for
  limiting access to         1By charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not

  device features in         a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.
  accordance with daily
  time limits or usage
  schedules.
                                          Exhibit C – S.P.R. 2.1 Infringement Contentions
            7
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 167 of 225 Page ID
                                                 #:3869




        '612 Patent
   Claim 1 – Preamble1
A system for managing
computing devices
configured to
communicate over one or
more networks serviced
by one or more service
providers, the system
comprising a memory
bearing instructions that,
when executed on the
system, cause the system
to at least:

• The Qustodio
  Products selectively
  permit or block
  access to device
  features, such as
  Internet content,
  calls, texts, contacts,
  and applications.
• The Qustodio
  Products apply time-                                              Source: https://www.qustodio.com/en/family/premium/
  based policies for
  limiting access to         1By charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not

  device features in         a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.
  accordance with daily
  time limits or usage
  schedules.
                                          Exhibit C – S.P.R. 2.1 Infringement Contentions
            8
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 168 of 225 Page ID
                                                 #:3870




        '612 Patent
   Claim 1 – Preamble1
A system for managing
computing devices
configured to
communicate over one or
more networks serviced
by one or more service
providers, the system
comprising a memory
bearing instructions that,
when executed on the
system, cause the system
to at least:

• The Qustodio
  Products require
  download of a local
  agent on the
  controlled device(s)
  which routes all
  usage requests
  through one or more
  Qustodio servers.
• Qustodio’s servers
  host its user interface
                                                    Source: https://www.qustodio.com/en/family/how-it-works/
  dashboard from
  which administrators
  can see all monitored      1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
  devices and usage          a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
  and set rules.             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.
                                          Exhibit C – S.P.R. 2.1 Infringement Contentions
            9
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 169 of 225 Page ID
                                                 #:3871




        '612 Patent
   Claim 1 – Preamble1
A system for managing
computing devices
configured to
communicate over one or
more networks serviced
by one or more service
providers, the system
comprising a memory
bearing instructions that,
when executed on the
system, cause the system
to at least:

• The Qustodio
  Products require
  download of a local
  agent on the
  controlled device(s)
  which routes all
  usage requests
  through one or more
  Qustodio servers.
• Qustodio’s servers
  host its user interface
  dashboard from                                             Source: Qustodio User Guide (June 2017) at p. 81
  which administrators
                             1By charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
  can see all monitored      a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
  devices and usage          infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.
  and set rules.
                                          Exhibit C – S.P.R. 2.1 Infringement Contentions
            10
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 170 of 225 Page ID
                                                 #:3872




        '612 Patent
   Claim 1 – Preamble1
A system for managing
computing devices
configured to
communicate over one or
more networks serviced
by one or more service
providers, the system
comprising a memory
bearing instructions that,
when executed on the
system, cause the system
to at least:

• The Qustodio
  Products operate to
  control use of
  iPhones, iPads, and
  other computing
  devices which
  operate on cellular
  and/or Internet
  networks managed
  by cellular and
  internet service
  providers,
  respectively.
                                                           Source: https://www.qustodio.com/en/family/how-it-works/
                             1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                             a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

            11                                              Exhibit C – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 171 of 225 Page ID
                                                 #:3873




        '612 Patent
   Claim 1 – Preamble1
A system for managing
computing devices
configured to
communicate over one or
more networks serviced
by one or more service
providers, the system
comprising a memory
bearing instructions that,
when executed on the
system, cause the system
to at least:

• The Qustodio
  Products require
  installation of a local
  agent (mobile
  application) in the
  memory of each
  device to be
  controlled.
• The local agent
  comprises executable
  instructions for
  controlling operation
  of the device to
  perform functions.                                       Source: Qustodio User Guide (June 2017) at p. 8
                             1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                             a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

            12                                              Exhibit C – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 172 of 225 Page ID
                                                 #:3874




        '612 Patent
   Claim 1 – Preamble1
A system for managing
computing devices
configured to
communicate over one or
more networks serviced
by one or more service
providers, the system
comprising a memory
bearing instructions that,
when executed on the
system, cause the system
to at least:

• The Qustodio
  Products require
  installation of a local
  agent (mobile
  application) in the
  memory of each
  device to be
  controlled.
• Execution of the
  “local agent” on a
  controlled device
  “allows Qustodio to
  supervise this
  device.”                                                 Source: Qustodio User Guide (June 2017) at p. 46
                             1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                             a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

            13                                              Exhibit C – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 173 of 225 Page ID
                                                 #:3875




        '612 Patent
   Claim 1 – Preamble1
A system for managing
computing devices
configured to
communicate over one or
more networks serviced
by one or more service
providers, the system
comprising a memory
bearing instructions that,
when executed on the
system, cause the system
to at least:

• The local agent of the
  Qustodio Products
  operates under an
  Apple Mobile Device
  Management
  (“MDM”) Certificate.




                                                           Source: Qustodio User Guide (June 2017) at p. 46-47
                             1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                             a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

            14                                              Exhibit C – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 174 of 225 Page ID
                                                 #:3876




        '612 Patent
   Claim 1 – Preamble1
A system for managing
computing devices
configured to
communicate over one or
more networks serviced
by one or more service
providers, the system
comprising a memory
bearing instructions that,
when executed on the
system, cause the system
to at least:

• The local agent of the
  Qustodio Products
  applies MDM
  protocol to obtain
  “control and access
  over a device.”




                                         Source: https://www.apple.com/newsroom/2019/04/the-facts
                                                                                           -      -about-parental-control-apps/
                                                 https://www.apple.com/newsroom/2019/04/the-facts-about-parental-control-apps/
                             1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                             a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

            15                                              Exhibit C – S.P.R. 2.1 Infringement Contentions
             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 175 of 225 Page ID
                                                 #:3877




        '612 Patent
   Claim 1 – Preamble1
A system for managing
computing devices
configured to
communicate over one or
more networks serviced
by one or more service
providers, the system
comprising a memory
bearing instructions that,
when executed on the
system, cause the system
to at least:

• The local agent of the
  Qustodio Products
  applies MDM
  protocol to obtain
  “control and access
  over a device.”
• MDM protocol
  “allows for OS level
  control of multiple
  devices from a
  centralized location.”
                                           Source: https://www.apple.com/newsroom/2019/04/the-facts
                                                   https://www.apple.com/newsroom/2019/04/the-facts-about-parental-control-apps/
                                                                                             -      -about-parental-control-apps/


                             1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                             a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

            16                                              Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                 #:3878




        '612 Patent
   Claim 1 – Preamble1
A system for managing
computing devices
configured to
communicate over one or
more networks serviced
by one or more service
providers, the system
comprising a memory
bearing instructions that,
when executed on the
system, cause the system
to at least:

• The local agent of the
  Qustodio Products
  applies MDM
  protocol to force the
  controlled device to
  interact with an
  MDM server to
  “exchange commands
  and responses” to
  control use of the
  device and its
  features/functions.
                                           Source: https://medium.com/swlh/mobile-device-management-mdm-for
                                                                                                       - -ios-60448313dafb
                                                   https://medium.com/swlh/mobile-device-management-mdm-for-ios-60448313dafb

                             1By  charting the preamble, we do not concede that the preamble is a limitation and reserve the right to contend that the preamble is not
                             a limitation of the claim. However, should the Court decide that the preamble is a limitation of the claim, the preamble is literally
                             infringed by the Representative Product, and correspondingly by all Accused Products, as described herein.

            17                                              Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                 #:3879




        '612 Patent
   Claim 1 – Element A
store a policy that controls
at least a use of a function
on a computing device,
the control comprising
allowing and disallowing
the use of the function
based on a context
associated with the
computing device, the
policy being defined by an
administrator;

• Qustodio’s servers
  host its user interface
  dashboard from
  which administrators
  can see all monitored
  devices and usage.
• Usage requests are
  routed from each
  controlled device
  through the Qustodio
  server.
                                                      Source: https://www.qustodio.com/en/family/how-it-works/

                               Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                               present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                               element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                               substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                            Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                 #:3880




        '612 Patent
   Claim 1 – Element A
store a policy that controls
at least a use of a function
on a computing device,
the control comprising
allowing and disallowing
the use of the function
based on a context
associated with the
computing device, the
policy being defined by an
administrator;

• Policies set by
  administrators are
  stored on the remote
  Qustodio servers.
• These policies are
  applied in response
  to usage requests to
  allow or disallow
  each request.
• Policies may be time,
  content, or contact
  based.
                                                               Source: Qustodio User Guide (June 2017) at p. 81

                               Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                               present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                               element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                               substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                            Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                 #:3881




        '612 Patent
   Claim 1 – Element A
store a policy that controls
at least a use of a function
on a computing device,
the control comprising
allowing and disallowing
the use of the function
based on a context
associated with the
computing device, the
policy being defined by an
administrator;

• Policies set by
  administrators are
  stored on the remote
  Qustodio servers.
• These policies are
  applied in response
  to usage requests to
  allow or disallow
  each request.
• Policies may be based
  on various contexts,
  including at least
                                                               Source: Qustodio User Guide (June 2017) at p. 75
  time, content, or
  contact.                     Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                               present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                               element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                               substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                            Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                 #:3882




        '612 Patent
   Claim 1 – Element A
store a policy that controls
at least a use of a function
on a computing device,
the control comprising
allowing and disallowing
the use of the function
based on a context
associated with the
computing device, the
policy being defined by an
administrator;




                               Claim 1, Element A - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                               present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                               element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                               substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            21                                                  Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                #:3883




       '612 Patent
   Claim 1 – Element B
group one or more
computing devices in a
group;




• The Qustodio local
  agent application
  must be installed on
  every managed
  device.
• At installation,
  administrators are
  instructed to
  associate each device
  to a profile, to which
  multiple devices may
  be associated (or
  grouped).                                                    Source: Qustodio User Guide (June 2017) at p. 8
                           Claim 1, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                           present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                           element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                           substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                        Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                #:3884




       '612 Patent
   Claim 1 – Element B
group one or more
computing devices in a
group;




• The Qustodio local
  agent application
  must be installed on
  every managed
  device.
• At installation,
  administrators are
  instructed to
  associate each device
  to a profile, to which
  multiple devices may
  be associated (or
  grouped).                  Source: Qustodio User Guide (June 2017) at pp. 29-30
                           Claim 1, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                           present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                           element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                           substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                        Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                #:3885




       '612 Patent
   Claim 1 – Element B
group one or more
computing devices in a
group;




• Policies are applied
  by profile to all
  devices grouped
  under a profile.




                                                         Source: Qustodio User Guide (June 2017) at p. 81
                         Claim 1, Element B - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                         present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                         element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                         substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                      Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                 #:3886




        '612 Patent
   Claim 1 – Element C
associate the policy with
the group;




• Policies are applied
  by profile to all
  devices grouped
  under a profile.
• All devices grouped
  within a policy are
  simultaneously
  controlled via
  application of the
  profile policies.




                                                            Source: Qustodio User Guide (June 2017) at p. 81
                            Claim 1, Element C- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                         Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                 #:3887




        '612 Patent
   Claim 1 – Element C
associate the policy with
the group;




• Policies are applied
  by profile to all
  devices grouped
  under a profile.
• All devices grouped
  within a policy are
  simultaneously
  controlled via
  application of the
  profile policies.




                                                            Source: https://www.qustodio.com/en/family/how-it-works/



                            Claim 1, Element C- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                         Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                 #:3888




       '612 Patent
   Claim 1 – Element D
receive a request sent to
or from a computing
device in the group to use
the function;



• The local agent of the
  Qustodio Products
  requires access and
  permissions allowing
  it to cause all actions
  taken and content
  viewed on a managed
  device to be routed
  through one or more
  servers of Qustodio.




                                                             Source: Qustodio User Guide (June 2017) at p. 33
                             Claim 1, Element D- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                          Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                 #:3889




       '612 Patent
   Claim 1 – Element D
receive a request sent to
or from a computing
device in the group to use
the function;



• The local agent of the
  Qustodio Products
  requires access and
  permissions allowing
  it to cause all actions
  taken and content
  viewed on a managed
  device to be routed
  through one or more
  servers of Qustodio.




                                                             Source: Qustodio User Guide (June 2017) at pp. 27, 30-32

                             Claim 1, Element D- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                          Exhibit C – S.P.R. 2.1 Infringement Contentions
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             Case 8:18-cv-01519-JAK-PLA Document 89-7 Filed 08/09/19 Page 188 of 225 Page ID
                                                 #:3890




       '612 Patent
   Claim 1 – Element D
receive a request sent to
or from a computing
device in the group to use
the function;



• The local agent of the
  Qustodio Products
  requires access and
  permissions allowing
  it to cause all actions
  taken and content
  viewed on a managed
  device to be routed
  through one or more
  servers of Qustodio.




                                                             Source: Qustodio User Guide (June 2017) at pp. 47-48
                             Claim 1, Element D- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                          Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                 #:3891




       '612 Patent
   Claim 1 – Element D
receive a request sent to
or from a computing
device in the group to use
the function;




                             Claim 1, Element D - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

            30                                                Exhibit C – S.P.R. 2.1 Infringement Contentions
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       '612 Patent
   Claim 1 – Element E
generate a decision to
grant or deny the request
based on the policy; and




• The Qustodio
  Products make
  decisions on whether
  to permit or deny
  requested uses of a
  controlled device via
  comparison of the
  requested usage to
  rules applicable to
  the device.




                                                                   Source: https://www.qustodio.com/en/family/premium/


                            Claim 1, Element E- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                         Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                #:3893




       '612 Patent
   Claim 1 – Element E
generate a decision to
grant or deny the request
based on the policy; and




                            Claim 1, Element E - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                            present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                            element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                            substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

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                                                #:3894




       '612 Patent
   Claim 1 – Element F
enforce the decision by
taking an action that is
consistent with the
decision and by sending to
the computing device data
indicative of the action,
the action allowing or
disallowing the use of the
function on the computing
device.
• Qustodio either
  permits requested
  usage or blocks it in
  accordance with the
  decision.
• Decisions are logged
  on Qustodio servers.
• Disallowed requests
  result in a “block
  screen” on the
  managed device and
  the requested usage
  is terminated.
                                                                Source: https://www.qustodio.com/en/family/how-it-works/

                             Claim 1, Element F- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                          Exhibit C – S.P.R. 2.1 Infringement Contentions
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                                                #:3895




       '612 Patent
   Claim 1 – Element F
enforce the decision by
taking an action that is
consistent with the
decision and by sending to
the computing device data
indicative of the action,
the action allowing or
disallowing the use of the
function on the computing
device.
• Qustodio either
  permits requested
  usage or blocks it in
  accordance with the
  decision.
• Decisions are logged
  on Qustodio servers.
• Disallowed requests
  result in a “block
  screen” on the
  managed device and
  the requested usage
  is terminated.
                                                                Source: https://www.qustodio.com/en/family/how-it-works/

                             Claim 1, Element F- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.

                                          Exhibit C – S.P.R. 2.1 Infringement Contentions
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       '612 Patent
   Claim 1 – Element F
enforce the decision by
taking an action that is
consistent with the
decision and by sending to
the computing device data
indicative of the action,
the action allowing or
disallowing the use of the
function on the computing
device.




                             Claim 1, Element F- The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are
                             present under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim
                             element, such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs
                             substantially the same function in substantially the same way to achieve substantially the same result as recited in this claim element.


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'612 Patent
 Claim 2




[Preamble] The system of Claim 1,

[Element A] wherein the group comprises one or more mobile phones.




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                                                #:3898




       '612 Patent
         Claim 2
The system of Claim 1,
wherein the group
comprises one or more
mobile phones.




• At installation of the
  Qustodio local agent
  on a managed device,
  the administrator is
  instructed to choose
  the user profile
  associated to the
  device.
• Multiple devices,
  including one or
  more mobile phones,
  may be grouped
  through association        Source: Qustodio User Guide (June 2017) at pp. 29-30
  to the same profile.     Claim 2 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                           the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
• Rules are set and        differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
  applied by profile.      function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                           Exhibit C - S.P.R. 2.1 Infringement Contentions
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                                                #:3899




       '612 Patent
         Claim 2
The system of Claim 1,
wherein the group
comprises one or more
mobile phones.




• The Qustodio
  Products “support
  iPhones” using MDM
  technology to
  “monitor internet
  use, control 50 apps,
  and disable internet
  when time is up.”




                                                         Source: https://www.qustodio.com/en/family/how-it-works/

                          Claim 2 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                          the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                          differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                          function in substantially the same way to achieve substantially the same result as recited in this claim element.

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                                        #:3900




'612 Patent
 Claim 3




[Preamble] The system of Claim 1,

[Element A] wherein the function comprises one or more of voice calling,
messaging, data surfing, gaming, content accessing, goods purchasing, and
service purchasing.




                       Exhibit C - S.P.R. 2.1 Infringement Contentions
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                                                #:3901




       '612 Patent
         Claim 3
The computing device of
Claim 1, wherein the
function comprises one or
more of voice calling,
messaging, data surfing,
gaming, content accessing,
goods purchasing, and
service purchasing.




• Qustodio
  accommodates
  configuration and
  application of web
  browsing rules (data
  surfing, content
  accessing), time
  usage rules (data
  surfing, gaming,
  content accessing),
                                                              Source: Qustodio User Guide (June 2017) at p. 75
  application rules
                             Claim 3 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
  (gaming), and calls /      the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
  SMS rules (voice           differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
  calling and                function in substantially the same way to achieve substantially the same result as recited in this claim element.

  messaging).
                                                             Exhibit C - S.P.R. 2.1 Infringement Contentions
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                                        #:3902




'612 Patent
 Claim 4




[Preamble] The system of Claim 1,

[Element A] wherein the context comprises one or more of units of value
associated with a charge for the use of the function, an identification of a
remote computing device that the computing device interacts with when
using the function, an identification of a contact associated with a remote
computing device that the computing device interacts with when using the
function, a type of content received by or sent from the computing device in
association with the use of a function.




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                                                #:3903




       '612 Patent
         Claim 4
The computing device of
Claim 1, wherein the
context comprises one or
more of units of value
associated with a charge
for the use of the
function…




• Qustodio
  accommodates Time
  Usage Limits defining
  daily maximum time
  allotments and usage
  scheduling.
• Minutes are
  decremented from
  the remaining
  balance of available                                         Source: https://www.qustodio.com/en/family/how-it-works/
  minutes during use.      Claim 4 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                           the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                           differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                           function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                           Exhibit C - S.P.R. 2.1 Infringement Contentions
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'612 Patent
 Claim 5




[Preamble] The system of Claim 1,

[Element A] wherein the group and the policy are defined by the
administrator.




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                                                #:3905




       '612 Patent
         Claim 5
The computing device of
Claim 1, wherein the
group and the policy are
defined by the
administrator.




• At installation of the
  Qustodio local agent
  on a managed device,
  the administrator is
  instructed to choose
  the user profile
  associated to the
  device.
• Multiple devices may
  be grouped through                                           Source: https://www.qustodio.com/en/family/how-it-works/
  association to the       Claim 5 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
  same profile.            the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                           differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
• Rules are set and        function in substantially the same way to achieve substantially the same result as recited in this claim element.
  applied by profile.
                                                           Exhibit C - S.P.R. 2.1 Infringement Contentions
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                                                #:3906




       '612 Patent
         Claim 5
The computing device of
Claim 1, wherein the
group and the policy are
defined by the
administrator.




• At installation of the
  Qustodio local agent
  on a managed device,
  the administrator is
  instructed to choose
  the user profile
  associated to the
  device.
• Multiple devices may                                            Source: Qustodio User Guide (June 2017) at p. 4
  be grouped through
  association to the       Claim 5 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
  same profile.            the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                           differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
• Rules are set and        function in substantially the same way to achieve substantially the same result as recited in this claim element.
  applied by profile.
                                                           Exhibit C - S.P.R. 2.1 Infringement Contentions
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                                                #:3907




       '612 Patent
         Claim 5
The computing device of
Claim 1, wherein the
group and the policy are
defined by the
administrator.




• At installation of the
  Qustodio local agent
  on a managed device,
  the administrator is
  instructed to choose
  the user profile
  associated to the
  device.
• Multiple devices may
  be grouped through         Source: Qustodio User Guide (June 2017) at pp. 29-30
  association to the       Claim 5 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
  same profile.            the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                           differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
• Rules are set and        function in substantially the same way to achieve substantially the same result as recited in this claim element.
  applied by profile.
                                                           Exhibit C - S.P.R. 2.1 Infringement Contentions
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                                                #:3908




       '612 Patent
         Claim 5
The computing device of
Claim 1, wherein the
group and the policy are
defined by the
administrator.




• At installation of the
  Qustodio local agent
  on a managed device,
  the administrator is
  instructed to choose
  the user profile
  associated to the
  device.
• Multiple devices may
  be grouped through                                        Source: Qustodio
                                                                         d User Guide
                                                                                   d ((June 2017) at p. 74
  association to the       Claim 5 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
  same profile.            the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                           differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
• Rules are set and        function in substantially the same way to achieve substantially the same result as recited in this claim element.
  applied by profile.
                                                           Exhibit C - S.P.R. 2.1 Infringement Contentions
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                                                #:3909




       '612 Patent
         Claim 5
The computing device of
Claim 1, wherein the
group and the policy are
defined by the
administrator.




• Rules, such as time
  limits, are set and
  applied by profile to
  all devices associated
  to a profile, unless
  “Enable per device
  time limits” option is
  toggled on.


                                                            Source: Qustodio User Guide (June 2017) at p. 81
                           Claim 5 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                           the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                           differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                           function in substantially the same way to achieve substantially the same result as recited in this claim element.


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'612 Patent
 Claim 6




[Preamble] The system of Claim 1,

[Element A] wherein the policy comprises a limit on units of value associated
with the use of the function,

[Element B] wherein the decision denies the request when using the
function causes the limit to be exceeded.




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        '612 Patent
   Claim 6 – Element A
The computing device of
Claim 1, wherein the
policy comprises a limit on
units of value associated
with the use of the
function,




• Qustodio
  accommodates Time
  Usage Limits defining
  daily maximum time
  allotments and usage
  scheduling.
• Requests for access
  are blocked once a
  time limit is met.
                                                               Source: Qustodio User Guide (June 2017) at p. 81
                              Claim 6 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                              the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                              differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                              function in substantially the same way to achieve substantially the same result as recited in this claim element.


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       '612 Patent
   Claim 6 – Element B
wherein the decision
denies the request when
using the function causes
the limit to be exceeded.




• Qustodio
  accommodates Time
  Usage Limits defining
  daily maximum time
  allotments and usage
  scheduling.
• Requests for access
  are blocked once a
  time limit is met.
                                                                Source: https://www.qustodio.com/en/family/how-it-works/
                            Claim 6 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                            the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                            differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                            function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                            Exhibit C - S.P.R. 2.1 Infringement Contentions
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'612 Patent
 Claim 8




[Preamble] The system of Claim 1,

[Element A] wherein the policy comprises a time-based policy, a location-
based policy, or a quality of service-based policy.




                       Exhibit C - S.P.R. 2.1 Infringement Contentions
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                                                 #:3914




        '612 Patent
          Claim 8
The computing device of
Claim 1, wherein the
policy comprises a time-
based policy, a location-
based policy, or a quality
of service-based policy.




• Qustodio
  accommodates Time
  Usage Limits defining
  daily maximum time
  allotments and usage
  scheduling.
• Requests for access
  are blocked once a                                         Source: https://www.qustodio.com/en/family/how-it-works/
  time limit is met.

                             Claim 8 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                             the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                             differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                             function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                             Exhibit C - S.P.R. 2.1 Infringement Contentions
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                                                 #:3915




        '612 Patent
          Claim 8
The computing device of
Claim 1, wherein the
policy comprises a time-
based policy, a location-
based policy, or a quality
of service-based policy.




• Qustodio
  accommodates Time
  Usage Limits defining
  daily maximum time
  allotments and usage
  scheduling.
• Requests for access
  are blocked once a
  time limit is met.
                                                              Source: Qustodio User Guide (June 2017) at p. 81
                             Claim 8 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                             the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                             differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                             function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                             Exhibit C - S.P.R. 2.1 Infringement Contentions
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'612 Patent
 Claim 9




[Preamble] The system of Claim 1,

[Element A] wherein the policy is accessible by the administrator via a
website, and wherein the website allows the administrator to customize the
policy.




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                                                 #:3917




        '612 Patent
          Claim 9
The computing device of
Claim 1, wherein the
policy is accessible by the
administrator via a
website, and wherein the
website allows the
administrator to
customize the policy.




• Rules, such as time
  usage limits, web
  browsing rules,
  application rules, and
  calls/SMS rules are
  configured by
  administrators (i.e.,
  parents) and stored
  on Qustodio’s remote
  servers via a web
                                                               Source: Qustodio User Guide (June 2017) at p. 81
  dashboard interface.
                              Claim 9 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present under
                              the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element, such
                              differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the same
                              function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                              Exhibit C - S.P.R. 2.1 Infringement Contentions
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'612 Patent
 Claim 10




[Preamble] The system of Claim 1,

[Element A] wherein the policy comprises one or more blocked contacts
associated with one or more remote computing devices, wherein the
decision denies the request when using the function causes the computing
device to interact with a remote computing device associated with the one
or more blocked contacts.




                       Exhibit C - S.P.R. 2.1 Infringement Contentions
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       '612 Patent
        Claim 10
wherein the policy
comprises one or more
blocked contacts
associated with one or
more remote computing
devices, wherein the
decision denies the
request when using the                                             Source: Qustodio User Guide (June 2017) at p. 4
function causes the
computing device to
interact with a remote
computing device
associated with the one or
more blocked contacts.

• Specific contacts may
  be blocked via
  application of Calls /
  SMS rules
  corresponding to the                                             Source: Qustodio User Guide (June 2017) at p. 81
  phone number of the
  blocked contact.
• Communications
  to/from a blocked
  contact are denied.
                             Claim 10 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                             under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                             such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                             same function in substantially the same way to achieve substantially the same result as recited in this claim element.


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'612 Patent
 Claim 11




[Preamble] The system of Claim 1,

[Element A] wherein the policy controls content that can be sent, received,
or used by the computing device.




                       Exhibit C - S.P.R. 2.1 Infringement Contentions
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        '612 Patent
         Claim 11
The computing device of
Claim 1, wherein the
policy controls content
that can be sent, received,
or used by the computing
device.




• Qustodio
  accommodates
  configuration of rules
  defining what
  content can be sent
  or received and/or
  applications that can
  be used by the
  computing device.                                                 Source: Qustodio User Guide (June 2017) at p. 4


                              Claim 11 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                              under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                              such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                              same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                             Exhibit C - S.P.R. 2.1 Infringement Contentions
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        '612 Patent
         Claim 11
The computing device of
Claim 1, wherein the
policy controls content
that can be sent, received,
or used by the computing
device.




• Qustodio
  accommodates
  configuration of rules
  defining what
  content can be sent
  or received and/or
  applications that can
  be used by the
  computing device.
                                                             Source: Qustodio User Guide (June 2017) at p. 75
                              Claim 11 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                              under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                              such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                              same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                             Exhibit C - S.P.R. 2.1 Infringement Contentions
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        '612 Patent
         Claim 11
The computing device of
Claim 1, wherein the
policy controls content
that can be sent, received,
or used by the computing
device.




• Qustodio
  accommodates
  configuration of rules
  defining what
  content can be sent
  or received and/or
  applications that can
  be used by the
  computing device.
                                                                Source: https://www.qustodio.com/en/family/how-it-works/
                              Claim 11 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                              under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                              such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                              same function in substantially the same way to achieve substantially the same result as recited in this claim element.


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'612 Patent
 Claim 12




[Preamble] The system of Claim 1,

[Element A] wherein the data indicative of the action comprises a
notification to the administrator, a user associated with the computing
device, or both the administrator and the user when the decision denies the
request.




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        '612 Patent
         Claim 12
The computing device of
Claim 1, wherein the data
indicative of the action
comprises a notification to
the administrator, a user
associated with the
computing device, or both
the administrator and the
user when the decision
denies the request.




• Qustodio
  accommodates Time
  Usage Limits defining
  daily maximum time
  allotments and usage
  scheduling.
• Requests for access
  are blocked once a
  time limit is met.
                                                                Source: https://www.qustodio.com/en/family/how-it-works/
                              Claim 12 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                              under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                              such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                              same function in substantially the same way to achieve substantially the same result as recited in this claim element.


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        '612 Patent
         Claim 12
The computing device of
Claim 1, wherein the data
indicative of the action
comprises a notification to
the administrator, a user
associated with the
computing device, or both
the administrator and the
user when the decision
denies the request.




• Qustodio notifies
  users of denied
  request through
  presentation of a
  block screen on the
  computing device.




                                                                Source: https://www.qustodio.com/en/family/how-it-works/
                              Claim 12 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                              under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                              such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                              same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                             Exhibit C - S.P.R. 2.1 Infringement Contentions
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        '612 Patent
         Claim 12
The computing device of
Claim 1, wherein the data
indicative of the action
comprises a notification to
the administrator, a user
associated with the
computing device, or both
the administrator and the
user when the decision
denies the request.




• Qustodio notifies
  administrators of all
  requests, including
  denied requests, via
  the online dashboard
  summary screen for
  each profile / device.



                                                             Source: Qustodio User Guide (June 2017) at p. 74
                              Claim 12 - The Accused Products literally infringe this claim element. Alternatively, the limitations of this claim element are present
                              under the Doctrine of Equivalents because to the extent there are any differences between the Accused Product and this claim element,
                              such differences are insubstantial. Further, equivalency may be shown by the fact that the Accused Product performs substantially the
                              same function in substantially the same way to achieve substantially the same result as recited in this claim element.


                                                             Exhibit C - S.P.R. 2.1 Infringement Contentions
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